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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION



                                        )                    CHAPTER 7
 IN RE:                                 )
                                        )                    CASE NO. 09-61855-BEM
 TODD ANTHONY SHAW,                     )
                                        )
       Debtor.                          )
                                        )
                                        )
 S. GREGORY HAYS, as Chapter 7 trustee, )
                                        )
       Movant,                          )
                                        )
 v.                                     )                    CONTESTED MATTER
                                        )
 THE INTERNAL REVENUE SERVICE,          )
 SOUND EXCHANGE, INC., BROADCAST )
 MUSIC, INC., SONY MUSIC                )
 ENTERTAINMENT, BOBBY FRANK             )
 ELLERBEE, as Administer of ESTATE OF   )
 JAMES F. ELLERBEE, BOBBY FRANK         )
 ELLERBEE, THE GEORGIA DEPARTMENT )
 OF REVENUE, GUILFORD FOREST            )
 HOMEOWNERS ASSOCIATION, INC.,          )
 COLLECTIONS INC. OF SAN FRANCISCO )
 A CALIFORNIA CORPORATION, RONNIE )
 JACKSON, JR., and TODD ANTHONY SHAW, )
                                        )
       Respondents.                     )
                                        )


                      TRUSTEE’S WITNESS AND EXHIBIT LISTS FOR
                         JULY 31, 2023 EVIDENTIARY HEARING

          S. Gregory Hays, as Chapter 7 trustee (“Trustee”) respectfully submits his witness and

 exhibit list for the July 31, 2023, evidentiary hearing.
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   I.       WITNESSES

         A. Will Call

            S. Gregory Hays, Trustee
            Doug Colton, broker for bankruptcy estate
            Wayne C. Coleman

         B. May Call

            Todd Anthony Shaw
            Tiffany Almy
            Joshua Binder
            Gaelen Whitmore

   II.      EXHIBITS

       Hays/Shaw Sale Motion Evidentiary Hearing Trustee Exhibits
   Exhibit Document                                       Docket No.
      1      Sale Motion with Sale Agreement                        280
      2      NOH Sale Motion                                        281
      3      COS                                                    283
      4      Outstanding Claim Payment Analysis                    N/A
      5      Sale Projections                                      N/A
      6      Debtor Bankruptcy Disclosure Forms                      11
      7      Amendment to Schedule D F                               18
      8      Ellerbee Calculation re BMI Taking                    N/A
      9      Debtor Taking re SoundExchange and BMI                N/A
     10      Emails from Bargar to Shaw Team                       N/A
     11      IRS Proof of Claim                             Claim # 3-1
     12      IRS Post-Petition Tax Lien                            N/A
     13      Offer from SONY $150K                                 N/A
     14      Email from Universal re No Match                      N/A
     15      Claims Register                                       N/A
     16      Valuation Report*                                     N/A


                *This report from Trustee's expert was not ready as of
                the Court's submisison deadline. Trustee will supplement
                his exhibits once the report is ready.



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        Attached hereto are copies of the above-listed exhibits. Trustee reserves the right to

 supplement his Exhibits and witnesses for impeachment and rebuttal purposes.

        Respectfully submitted this 24th day of July, 2023.

                                      ROUNTREE LEITMAN KLEIN & GEER, LLC
                                      Attorneys for Trustee

                                      By: /s/ Michael J. Bargar
                                              Michael J. Bargar
                                              Georgia Bar No. 645709
                                              mbargar@rlkglaw.com

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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


                                        )                  CHAPTER 7
 IN RE:                                 )
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       Debtor.                          )
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 JACKSON, JR., and TODD ANTHONY SHAW, )
                                        )
       Respondents.                     )
                                        )


          TRUSTEE’S MOTION FOR AUTHORITY TO SELL PROPERTY OF THE
                   BANKRUPTCY ESTATE FREE AND CLEAR OF
                LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES

          COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

 estate of Todd Anthony Shaw (“Debtor”), pursuant to 11 U.S.C. §§ 363(b), (f), and (m), and

 Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c) and 9014, through undersigned counsel, and files
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 Trustee’s Motion for Authority to Sell Property of the Bankruptcy Estate Free and Clear of

 Liens, Claims, Interests, and Encumbrances (the “Sale Motion”), respectfully showing:

                                        Venue and Jurisdiction

         1.      This Court has jurisdiction over this Sale Motion under 28 U.S.C. §§ 157 and

 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. This Sale

 Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                              Background

                                        a. General Background

         2.      On January 26, 2009 (the “Petition Date”), Debtor filed a voluntary petition for

 relief under Chapter 7 of Title 11 of the United States Code, initiating Case No. 09-61855-BEM

 (the “Bankruptcy Case” or “Case”).

         3.      Also on the Petition Date, Debtor filed under penalty of perjury his Statement of

 Financial Affairs, Schedules “A” through “J”, and other bankruptcy documents. [Doc. No. 1].

         4.      Trustee was thereafter appointed the duly acting Chapter 7 trustee in the Case

 under 11 U.S.C. § 701(a)(1), and he remains in this role.

         5.      At the commencement of the Case, the Debtor’s bankruptcy estate was created

 under 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and it includes all Debtor’s legal or

 equitable interests in property as of the commencement of the Case and any interest in property

 that the Bankruptcy Estate acquires after commencement of the Case. 11 U.S.C. §§ 541(a)(1)

 and (7).

         6.      Trustee is the sole representative of the Bankruptcy Estate. 11 U.S.C. § 323(a).

         7.      The duties of Trustee include an obligation to “collect and reduce to money the

 property of the estate . . . .” 11 U.S.C. § 704.



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                                        b. Music Royalties

                                       1. Collections to Date

        8.      On the Petition Date, Debtor was entitled to payments from certain music

 royalties, and Trustee has been collecting these payments since the Petition Date.

        9.      And, although Debtor originally filed this Case as a no-asset case, Trustee has

 collected over $2.75M of music royalties since the Petition Date, and as a result of previous

 distributions authorized by the Court, he is currently holding approximately $1,000,000.00.

        10.     A portion of these royalty payments arose out of a stipulation (“Stipulation”)

 between Trustee and Zomba Recording LLC (“Zomba”), which was approved by order [Doc.

 No. 62] of the Court on November 24, 2009.

        11.     This Stipulation resolved a dispute between Trustee and Zomba related to

 payments from Zomba Enterprises, Inc. (“ZEI”) that were owed to the Bankruptcy Estate but in

 which Zomba claimed an alleged security interest.

        12.     As a result of the Stipulation, Trustee was to receive 20% of royalty payments

 owed by ZEI; Zomba was to receive 80% of these royalty payments, until the alleged loan owed

 to Zomba is paid in full; and following satisfaction of this debt, Trustee was to receive 100% of

 the royalty payments. This secured claim has been fully satisfied.

        13.     Upon information and belief, sometime after entry of the Stipulation and the

 Court’s order [Doc. No. 62] approving the same, Zomba transferred its loan rights and interests

 in recorded works that generate royalties to Sony Music Entertainment (“Sony”), and ZEI

 transferred its interests in the musical composition works that generate royalties to Universal

 Music Group, Inc. (“Universal”). Alternatively, rather than an asset purchase, it may be the case

 that Sony purchased Zomba, or that Universal purchased ZEI.



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                                     2. Employment of Broker

        14.     On March 16, 2021, Trustee filed an application to employ MCE Management,

 LLC (“MCE”) as Trustee’s broker to assist Trustee in marketing and selling certain music

 royalty and other property interests of the Bankruptcy Estate [Doc. No. 209] (the “Application

 to Employ”).

        15.     On March 24, 2021, the Court entered an order [Doc. No. 210] granting the

 Application to Employ and authorizing Trustee to employ MCE.

        16.     Trustee has been marketing the relevant assets since employing MCE in 2021.

                          c. Alleged Liens, Interests, and Encumbrances

        17.     Debtor scheduled several creditors with secured claims in what was his former

 residence, but he scheduled no secured claims in any other property interests. See [Doc. No. 11].

        18.     Upon information and belief, other than the now fully paid secured claim of: (a)

 Zomba that was the subject of the Stipulation; and (b) the Georgia Department of Revenue, no

 other creditors hold valid liens, security interests, or encumbrances in the assets that are the

 subject of this Sale Motion. See [Doc. No. 11]; [Doc. No. 62]; [Doc. No. 177]; [Proof of Claims

 No. 2-1 and 5-2].

        19.     To the extent a judgment creditor asserts a lien in the Transferred Assets (defined

 below), they do not attach to those assets because they are choses in action. See, e.g., Levine v.

 Weyer (In re DOTMD, LLC), 303 B.R. 519, 525-527 (Bankr. N.D. Ga. 2003) (Bihary, J.).

                          d. Filed Claims Against the Bankruptcy Estate

        20.     The total of the filed claims against the Bankruptcy Estate is $2,903,980.95.

 $479,969.96 of this amount is the secured claim of Zomba, which, as mentioned before, has been

 paid in full. And, $46,375.28 of this amount arises through the priority claims of the Internal



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 Revenue Service and the Fulton County Tax Commissioner, which was later withdrawn at

 Docket No. 155. Because of interim distributions made to date, as authorized by the Court, the

 total of the remaining unpaid claims against the Bankruptcy Estate is approximately

 $1,582,000.00.

      Proposed Sale Free and Clear of All Liens, Claims, Interests, and Encumbrances

        21.     After much negotiation, Trustee entered into an Asset Purchase Agreement for

 Trustee to sell, assign, and transfer the Bankruptcy Estate’s right, title, and interest in and to

 certain Transferred Assets 1 to Reservoir Media Management, Inc. (the “Purchaser”), “as is,

 where is,” for a sale price of $7,550,000.00 (the “Purchase Price”), 2 subject to Bankruptcy

 Court approval (the “Sale Agreement”). 3 A true and correct copy of the Sale Agreement, 4 is

 attached hereto and incorporated herein by reference as Exhibit “A.”

        22.       As set forth in the Sale Agreement, the Contemplated Transaction is subject to

 higher and better offers. As a result, and as set forth in Section 10.03 of the Sale Agreement,

 Trustee and Purchaser have agreed (again, subject to Bankruptcy Court approval) to a Break-Up

 Fee in an aggregate amount not to exceed $50,000.00 for Purchaser’s actual, reasonable, and


 1
        Capitalized terms not defined in this Sale Motion shall have the meanings ascribed to
 them in the Sale Agreement. The term Transferred Assets is defined at page 7 of the Sale
 Agreement.
 2
         As set out in the Sale Agreement, there will be a Holdback of $550,000.00 from the
 Purchase Price, and Trustee will keep and set-off any funds he has received since the Cash Date
 of October 1, 2022 against the Purchase Price such that the amount the Purchaser actually pays
 to Trustee will be reduced by the Post-Cash Date Pre-Closing Receipts that Trustee has received.
 3
        In the interest of time, the Sale Agreement attached as Exhibit “A” does not include
 completed Schedules A, B, C, D, or E. To the extent necessary and if requested, Trustee will
 provided copies of these schedules once they are finalized.
 4
        Nothing in this Sale Motion regarding the terms of the Sale Agreement is meant to be
 comprehensive. To the extent that any provision in this Sale Motion conflicts with the express
 terms of the Sale Agreement, the terms of the Sale Agreement shall control.
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 documented legal and financial due diligence costs, provided that Trustee consummates a sale of

 the Transferred Assets to a Competing Bidder.

         23.     The Purchaser was procured through the efforts of Trustee and his Broker, is a

 bona fide purchaser, and is not an insider of Debtor, Trustee, or the Broker.

         24.     Trustee’s proposed Sale Agreement for a Purchase Price of $7,550,000.00 is: (a)

 the highest and best offer that Trustee has received; and (b) an appropriate selling price for the

 Transferred Assets.

         25.     Subject to Bankruptcy Court approval, the closing of the sale of the Transferred

 Assets is scheduled to occur within five (5) Business Days following the date of the Bankruptcy

 Court’s entry of a Final Order in the Bankruptcy Case (the “Closing Date”).

                                            Relief Requested

         26.     Trustee requests an order from the Court granting this Sale Motion; approving the

 Sale Agreement; and authorizing Trustee to sell, assign, and transfer the Bankruptcy Estate’s

 right, title, and interest in and to the Transferred Assets to Purchaser for a Purchase Price of

 $7,550,000.00 free and clear of all liens, claims, interests, and encumbrances but otherwise on an

 “as is, where is” with all faults basis.

         27.     Trustee requests an order from the Court finding that Trustee and Purchaser have

 proceeded in good faith and that Trustee and Purchaser are entitled to the protections of 11

 U.S.C. § 363(m).

         28.     Trustee requests an order from the Court authorizing Trustee to execute any

 documents necessary to consummate the proposed sale, assignment, and transfer of the

 Transferred Assets to Purchaser, including those documents attached to the Sale Agreement as

 Exhibits 1 through 10.



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        29.      Trustee requests an order from the Court approving the Break-Up Fee, in

 accordance with the terms of Section 10.03 of the Sale Agreement.

        30.      Trustee requests an order from the Court ordering and directing the following

 Payors (as defined in the Sale Agreement) to account and pay the applicable royalty payments

 and income specified below in respect of the Subject Compositions and Subject Recordings (as

 applicable) to Purchaser following the Closing Date, in accordance with the Sale Agreement:

              a. BMI to account and pay to Purchaser One Hundred Percent (100%) of the

                 Songwriter Performance Royalties otherwise payable by BMI on or after the Cash

                 Date in respect of the interest of the Bankruptcy Estate/Debtor in the BMI

                 Compositions.

              b. UMPG (and any successor-in-interest thereto) to account and pay to Purchaser

                 One Hundred Percent (100%) of the Publisher Royalties and Songwriter Non-

                 Performance Royalties otherwise payable by UMPG (and/or any successor-in-

                 interest thereto, including Debtor to the extent Debtor recaptures rights from

                 UMPG pursuant to the United States Copyright Act) on or after the Cash Date as

                 provided in the UMPG Agreements in respect of the interest of the Bankruptcy

                 Estate/Debtor in the Subject Compositions.

              c. SoundExchange to account and pay to Purchaser One Hundred Percent (100%) of

                 the Neighboring Rights Artist Share of Neighboring Rights Royalties otherwise

                 payable by SoundExchange on or after the Cash Date in respect of the interest of

                 the Bankruptcy Estate/Debtor in the Subject Recordings.

              d. Sony (and any successor-in-interest thereto) to account and pay to Purchaser One

                 Hundred Percent (100%) of the Subject Recording Royalties otherwise payable by



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                Sony (and any successor-in-interest thereto) on or after the Cash Date as provided

                in the Sony Agreements in respect of the interest of the Bankruptcy Estate/Debtor

                in the Subject Recordings (including any and all SME Accounts pertaining

                thereto).

                                            Legal Analysis

                                        a. Sale Free and Clear

        31.     Section 363 of the Bankruptcy Code authorizes a trustee “after notice and a

 hearing . . . [to] use, sell, or lease, other than in the ordinary course of business, property of the

 estate . . . .” 11 U.S.C. § 363(b)(1). Section 105 of the Bankruptcy Code grants this Court the

 authority to “issue any order, process, or judgment necessary or appropriate to carry out the

 provisions of this title.” 11 U.S.C. § 105(a).

        32.     The standard to grant a sale of property outside of the ordinary course of business

 is the sound business judgment of the trustee. In re Chateaugay, 973 F.2d 141 (2d Cir. 1992);

 Stephens Indus. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986); In re Abbotts Dairies of Penn.,

 Inc., 788 F.2d 143 (3d Cir. 1986); Committee of Equity Security Holders v. Lionel Corp. (In re

 Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983). In this regard, a trustee’s showing need not

 be exhaustive; rather, a trustee is “simply required to justify the proposed disposition with sound

 business reason.” In re Baldwin United Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984).

        33.     Trustee can satisfy his burden here because the proposed sale is for a Purchase

 Price of $7,550,000.00, which will allow Trustee to make a substantial distribution to holders of

 filed claims (if not pay all filed claims, including interest and penalties, in full), and it will allow

 Trustee, barring unforeseen events and after payment of administrative expenses, including

 income taxes and fees and expenses, to make a substantial surplus distribution to Debtor in



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 excess of seven figures. This would be a wonderful result in this Case, which, as mentioned

 before, Debtor filed as a no-asset case.

         34.     In turn, Section 363(f) of the Bankruptcy Code authorizes a trustee to sell

 property under 11 U.S.C. § 363(b) free and clear of any interest in the subject property if, among

 other things, the price at which the property is to be sold is greater than the aggregate of the liens

 on such property, or if such interest is the subject of a bona fide dispute. 11 U.S.C. § 363(f).

 Specifically, that code section provides:

         (f) The trustee may sell property under subsection (b) or (c) of this section free
         and clear of any interest in such property of an entity other than the estate, only if-

                 (1)       applicable nonbankruptcy law permits sale of such property free
                           and clear of such interest;
                 (2)       such entity consents;
                 (3)       such interest is a lien and the price at which such property is to be
                           sold is greater than the aggregate value of all liens on such
                           property;
                 (4)       such interest is in bona fide dispute; or
                 (5)       such entity could be compelled, in a legal or equitable proceeding,
                           to accept a money satisfaction of such interest.
 Id.

         35.     As set forth above and below, Trustee can, under 11 U.S.C. § 363(f), sell the

 Transferred Assets free and clear of all liens, claims, interests, and encumbrances with any lien

 (to the extent valid, perfected, enforceable, and unavoidable) attaching to the proceeds of the sale

 with the same priority and extent as it had in the Transferred Assets.

         36.     The proposed Purchase Price is significantly greater than the amounts owed to

 any party holding a valid lien or security interest in the Transferred Assets. As a result, Section

 363(f)(3) is satisfied.

         37.     Alternatively, all alleged judgment liens that a creditor asserts has attached to the

 Transferred Assets are the subject of a bona fide dispute because those assets are choses in



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 action, and Section 363(f)(4) is satisfied. See, e.g., Levine v. Weyer (In re DOTMD, LLC), 303

 B.R. 519, 525-527 (Bankr. N.D. Ga. 2003) (Bihary, J.).

           38.   Notably, the proposed sale of the Transferred Assets is not in the ordinary course

 of business, as allowed by 11 U.S.C. § 363(b). Any lien to the extent valid, perfected,

 enforceable, and unavoidable will attach to the proceeds of the sale as provided by 11 U.S.C. §

 363(f).

                              b. Good Faith of Trustee and Purchaser

           39.   Moreover, 11 U.S.C. § 363(m) provides that the reversal or modification on

 appeal of an authorization of a sale or lease of property does not affect the validity of the sale or

 lease under such authorization to an entity that purchased or leased the property in good faith.

 See 11 U.S.C. § 363(m).

           40.   Although the Bankruptcy Code does not define good faith, courts have recognized

 that the kind of misconduct that would destroy a good faith status involves fraud, collusion

 between the purchaser and other offerors or the trustee, or an attempt to take grossly unfair

 advantage of other offerors. See In re Abbott Dairies of Pa., Inc., 788 F.2d 143, 147 (3d Cir.

 1986).

           41.   Trustee and Purchaser have proceeded in good faith, and the Purchaser is a bona

 fide, good-faith purchaser and not an insider of Debtor, Trustee, or the Broker. Consequently,

 Trustee and Purchaser are entitled to the protections of 11 U.S.C. § 363(m).

                                      Other Relief Requested

           42.   In addition, Trustee requests that the Court waive the stay of the order approving

 the proposed sale as authorized under Rule 6004(h) of the Federal Rules of Bankruptcy

 Procedure.



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                              Request for Higher and Better Offers

        43.     Finally, following notice to all creditors and parties in interest of the Sale Motion

 and the date of the hearing, Trustee invites any and all parties wishing to submit a competing

 cash bid, which exceeds the present Purchase Price, with no contingencies, and the ability to

 close within ten (10) days from Bankruptcy Court approval, so long as any such bid is filed with

 the Court in the form of an objection to the Sale Motion within two (2) business days of the

 hearing set forth in the notice of hearing filed contemporaneously with this Sale Motion.

        44.     To the extent that any entity asserts a right of first refusal as to the Transferred

 Assets, Trustee invites offers from those entities in accordance with the terms of the underlying

 agreement.

        WHEREFORE, Trustee respectfully requests that the Court enter an Order:

        (a)     Granting the Sale Motion;

        (b)     Authorizing and approving the Sale Agreement and the sale of the Transferred

 Assets free and clear of all liens, interests, and encumbrances;

        (c)     Finding that Purchaser is a good faith Purchaser and that Trustee and Purchaser

 are entitled to the protections of 11 U.S.C. § 363(m);

        (d)     Authorizing Trustee to execute any document necessary to comply with the terms

 of the Sale Agreement;

        (e)     Approving the Break-Up Fee, in accordance with the terms of Section 10.03 of

 the Sale Agreement;

        (f)     Requiring the Payors (as defined in the Sale Agreement) to account and pay the

 applicable royalty payments and income (specified above) in respect of the Subject

 Compositions and Subject Recordings (as applicable) to Purchaser following the Closing Date,



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 in accordance with the Sale Agreement;

        (g)    Authorizing the proposed sale to be consummated immediately as allowed by

 Federal Rules of Bankruptcy Procedure Rule 6004(h); and

        (h)    Granting such other and further relief as the Court deems just or appropriate.

               Respectfully submitted this 1st day of May, 2023.


                                       ROUNTREE LEITMAN KLEIN & GEER LLC
                                       Attorneys for Trustee

                                       By:/s/ Michael J. Bargar
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 404-410-1220




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                       EXHIBITS TO ASSET PURCHASE AGREEMENT


                                               between



 S. Gregory Hays, as and only as Chapter 7 trustee (“Seller”) of the bankruptcy estate of Todd Anthony
     Shaw p/k/a “Too Short”, individually and sometimes d/b/a Srand Music (BMI) (“Artist-Writer”)



                                                 and



                                 Reservoir Media Management, Inc.




                                         Dated: April 5, 2023
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                                        EXHIBITS


Exhibit 1       Payment Instructions

Exhibit 2       Asset Assignment

Exhibit 3       Copyright Assignment

Exhibit 4       Notice of Assignment and General Letter of Direction

Exhibit 5       SME LOD

Exhibit 5A      Sony Change Request Payee Form

Exhibit 6       UMPG LOD

Exhibit 7       BMI LOD

Exhibit 7A      BMI Royalty Assignment Verification Form

Exhibit 8       Certification of Assignment of SoundExchange Featured Artist Royalties

Exhibit 9       SoundExchange Account Authorization Form
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                                     EXHIBIT 1

                                Payment Instructions

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                                                       EXHIBIT 2
                                                   Asset Assignment


        ASSIGNMENT, on April 5, 2023 (“Effective Date”), between S. Gregory Hays, as and only as the Chapter 7 trustee
(“Assignor”) of the bankruptcy estate (the “Bankruptcy Estate”) of Todd Anthony Shaw p/k/a “Too Short”, individually
and sometimes d/b/a Srand Music (BMI) (“Artist-Writer”), on the one hand, and Reservoir Media Management, Inc.
(“Assignee”), on the other hand.

References are made to the following:

(1)   That certain asset purchase agreement dated as of the Effective Date (“Purchase Agreement”) between Assignor
      and Assignee. Unless otherwise defined herein, all capitalized terms used herein shall have the meanings ascribed
      to them in the Purchase Agreement. In the event of any inconsistencies between this Assignment and the
      Purchase Agreement, the Purchase Agreement shall control.

(2)   “Accounts” means the applicable royalty, writer and/or client account name(s) and number(s) of Seller and/or
      Artist-Writer associated with each Payor hereunder set forth on Schedule A, attached hereto and made a part
      hereof.

(3)   “Bankruptcy Case” means the bankruptcy case of Artist-Writer styled as In re Todd Shaw (Case No. 09-61855-
      BEM) in the Bankruptcy Court.

(4)   “Bankruptcy Court” means the United States Bankruptcy Court, for the Northern District of Georgia, Atlanta
      Division.

(5)   “BMI” means Broadcast Music, Inc.

(6)   “BMI Account” means BMI writer account number 003288223 (and any related or successor account(s)).

(7)   “BMI Compositions” means, to the extent of the Bankruptcy Estate’s right to receive Songwriter Performance
      Royalties, the musical compositions and musical works written in whole or in part by Artist-Writer prior to January
      26, 2009, and currently registered under the BMI Account, as set forth on Schedule B attached hereto and made
      a part hereof, as well as any Derivative Works thereof.

(8)   “Cash Date” means October 1, 2022.

(9)   “Catalog Materials” means, to the extent of Artist-Writer’s interest therein, which are in Seller’s possession, (i)
      digital copies of the Subject Composition Agreements and Subject Recording Agreements; (ii) digital copies of any
      and all accounting statements, royalty statements, and source earning statements relating to the Transferred
      Assets; and (iii) Seller’s account usernames, passwords, and any other applicable login credentials for any online
      platform or portals operated by each of BMI, SME, SoundExchange and UMPG in connection with the Transferred
      Assets (the “Logins”).

(10) “Derivative Work” means, with respect to any musical composition, musical work or sound recording, any
     arrangement, adaptation, edition, translation, interpolation or sample thereof or any other derivative work based
     thereon, and all right, title and interest in and to such derivative work.

(11) “Interest” means any ownership, administrative or income interest.

(12) “Neighboring Rights Artist Share” means the entire share (as determined under any applicable sound recording
     performance, broadcast or copyright Laws in any country throughout the world, including under the Copyright
     Act, 17 U.S.C. 114(g), or under the rules and regulations of any Neighboring Rights Organization) of any
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      Neighboring Rights Royalties payable or becoming payable to Seller in respect of Artist-Writer’s status as a
      “featured artist” or “featured performer” or otherwise in respect of Artist-Writer’s contribution as a recording
      artist,    performer         or      producer     of       any       of      the       Subject       Recordings.

(13) “Neighboring Rights Royalties” means any and all royalties, fees, credits, earnings, income, revenues,
     remuneration, monies, advances, settlement amounts, and any other sums or amounts of any kind or description
     payable or becoming payable to Seller by any Neighboring Rights Organization in connection with the public
     performance of the Subject Recordings, including public performance by transmission, broadcast, digital
     broadcast, webcast, simulcast, satellite, and cable transmission and retransmission, and rental and lending
     communication, whether accorded pursuant to the Laws and regulations currently in effect or hereinafter enacted
     in any country of the world or under any applicable agreement. For the avoidance of doubt, the Neighboring
     Rights Royalties shall include the Neighboring Rights Artist Share, but shall expressly exclude the so-called “label’s
     share” or “copyright owner’s share” of Neighboring Rights Royalties payable in respect of the Subject Recordings.

(14) “Publisher Non-Performance Royalties” means any and all monies, fees, royalties, revenues, amounts and sums
     of any kind or description payable or becoming payable to Seller by any Entity anywhere in the universe in respect
     of the use or exploitation of the Subject Compositions, excluding only the Publisher Performance Royalties and
     the Songwriter Royalties.

(15) “Publisher Performance Royalties” means any and all monies, fees, royalties, revenues, amounts and sums of any
     kind or description payable or becoming payable by any Entity anywhere in the universe in respect of the public
     performance of the Subject Compositions, excluding only the Songwriter Royalties, but including the so-called
     “publisher’s share” of public performance credits, monies, fees, royalties, revenues, amounts and sums of any
     kind or description payable or becoming payable by ASCAP, BMI, or any other performing rights organization or
     society throughout the world or any other Entity in connection with the public performance of any of the Subject
     Compositions.

(16) “Publisher Royalties” means the Publisher Non-Performance Royalties and the Publisher Performance Royalties.

(17) “Purchaser” shall mean the Assignee set forth in this Assignment above.

(18) “Seller” shall mean the Assignor set forth in this Assignment above.

(19) “SME” means Sony Music Entertainment, Inc. and its predecessors, successors and Affiliates, including, without
     limitation, Zomba Recording Corporation.

(20) “Songwriter Non-Performance Royalties” means any and all monies, fees, royalties, revenues, amounts and sums
     of any kind or description, excluding only the Songwriter Performance Royalties, payable or becoming payable by
     any Entity in respect of Artist-Writer’s capacity as a songwriter, lyricist, composer or arranger of the Subject
     Compositions anywhere in the universe, including all monies, fees, royalties, revenues, amounts and sums of any
     kind or description payable or becoming payable by any Entity in connection with the use or exploitation of the
     Subject Compositions. To the extent any of the foregoing amounts are not allocated into separate songwriter and
     publisher shares by the Entity collecting and distributing the same, the Songwriter Non-Performance Royalties
     shall be deemed fifty percent (50%) of such gross income.

(21) “Songwriter Performance Royalties” means any and all public performance credits, monies, fees, royalties,
     revenues, amounts and sums of any kind or description payable or becoming payable by any Entity in respect of
     Artist-Writer’s capacity as a songwriter, lyricist, composer or arranger of the Subject Compositions anywhere in
     the universe, including all of the Seller’s share of public performance royalties and fees payable or becoming
     payable by BMI or any other performing rights organization or society throughout the world or any other Entity
     in respect of the public performance of any of the Subject Compositions. Without limiting the foregoing,
     Songwriter Performance Royalties include Artist-Writer’s share of public performance royalties and fees payable
     or becoming payable as a result of any public performance licenses of the Subject Compositions that may be
     issued directly by any Entity. To the extent any of the foregoing amounts are not allocated into separate
     songwriter and publisher shares by the Entity collecting and distributing the same, the Songwriter Performance
     Royalties have been deemed fifty percent (50%) of such gross income.
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(22) “Songwriter Royalties” means the Songwriter Performance Royalties and the Songwriter Non-Performance
     Royalties.

(23) “SoundExchange” means SoundExchange, Inc.


(24) “Source Agreements” means the Subject Composition Agreements and the Subject Recording Agreements,
     including, without limitation, those set forth on Schedule E attached hereto and made a part hereof.

(25) “Subject Compositions” means the BMI Compositions and the UMPG Compositions.

(26) “Subject Composition Agreements” means any and all Contracts entered into by Artist-Writer relating to the
     acquisition, ownership, use or exploitation of the Subject Compositions, including the BMI Agreements and the
     UMPG Agreements.

(27) “Subject Composition Royalties” means an undivided one hundred percent (100%) of any and all credits, monies,
     fees, royalties, earnings, income, revenues, remuneration, advances, settlement amounts and any other sums or
     amounts of any kind or description accounted, credited, paid or payable by any Entity, including UMPG and BMI,
     anywhere in the universe to Artist-Writer and/or Seller with respect to the Bankruptcy Estate’s current or future
     Interest in the Subject Compositions, including the Songwriter Royalties and the Publisher Royalties, whether
     pursuant to the Subject Composition Agreements or otherwise in connection with the use or exploitation of the
     Subject Compositions.

(28) “Subject Recording Agreements” means any and all Contracts entered into by Artist-Writer relating to the
     acquisition, ownership, use or exploitation of the Subject Recordings, including the SME Agreements and the
     Neighboring Rights Agreements.

(29) “Subject Recordings” means all audio-only and audiovisual recordings, sound recordings and phonorecords
     embodying Artist-Writer’s musical performance (whether individually or together with other recording artists) or
     respecting which Artist-Writer rendered services as a recording artist, performer or producer, the creation of which
     was completed prior to January 26, 2009, and which are currently owned, controlled and/or distributed by SME
     pursuant to the SME Agreements, including those recordings and phonorecords set forth on Schedule D attached
     hereto and made a part hereof, and any Derivative Works based thereon in which SME claims an Interest pursuant
     to the SME Agreements.

(30) “Subject Recording Royalties” means an undivided one hundred percent (100%) of any and all credits, monies,
     fees, royalties, earnings, income, revenues, remuneration, advances, settlement amounts and any other sums or
     amounts of any kind or description accounted, credited, paid or payable by any Entity, including SME and
     SoundExchange, anywhere in the universe to Artist-Writer and/or Seller with respect to the Bankruptcy Estate’s
     current or future Interest in the Subject Recordings, including the Neighboring Rights Royalties, whether pursuant
     to the Subject Recording Agreements or otherwise in connection with the use or exploitation of the Subject
     Recordings, including, but not limited to, all such royalties and amounts credited to the applicable SME and
     SoundExchange Accounts set forth on Schedule A.

(31) “Transferred Assets” shall mean:

    (i) an undivided one hundred percent (100%) of all of the Bankruptcy Estate’s right, title and Interest in and to the
    Subject Compositions throughout the universe and in perpetuity, whether retained, reverted, or reverting by
    operation of contract, law or otherwise (subject to the Subject Composition Agreements), including, without
    limitation:

         (a)     the Copyrights therein and thereto (to the extent of the Bankruptcy Estate’s ownership Interest
    therein), and all renewals, revivals and extensions thereof throughout the universe, and any reversionary Interest
    of any kind and any similar rights whether now or hereafter known throughout the universe; and
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          (b)      the sole and exclusive right to collect and retain for Purchaser’s own account an undivided one
       hundred percent (100%) of any and all Subject Composition Royalties payable from and after the Cash Date;

       (ii) an undivided one hundred percent (100%) of all of the Bankruptcy Estate’s right, title and Interest in and to the
       Subject Recordings throughout the universe and in perpetuity, whether retained, reverted, or reverting by
       operation of contract, law or otherwise (subject to the Subject Recording Agreements), including, without
       limitation, the sole and exclusive right to collect an undivided one hundred percent (100%) of any and all Subject
       Recording Royalties payable from and after the Cash Date;

       (iii) one hundred percent (100%) of the Bankruptcy Estate’s contractual rights under the Source Agreements,
       including (to the extent assignable) the sole and exclusive right to exercise any and all of the Bankruptcy Estate’s
       audit and approval rights thereunder in respect of the Subject Recordings or Subject Compositions, as applicable;

       (iv) the perpetual, non-exclusive, royalty-free, worldwide right to use Artist-Writer’s name(s), approved likeness
       and approved biographical material in connection with the marketing, promotion and exploitation of the Subject
       Recordings and Subject Compositions, and in so-called “institutional advertisements/promotion” for Purchaser’s
       music publishing and/or recording business (including via the Internet, Purchaser’s website, etc.); and

       (v) the Catalog Materials.

(32)    “UMPG” means Universal Music Publishing Group, Inc. and its Affiliates and predecessors-and successors-in-
        interest, including, without limitation, Zomba Enterprises, Inc. and Willesden Music, Inc. (BMI).

(33)    “UMPG Compositions” means the musical compositions and musical works written in whole or in part by Artist-
        Writer prior to January 26, 2009, whether the same were originally claimed or registered as a musical composition
        or as a musical part of a dramatico-musical work and any music, lyrics, titles, or cues of such compositions,
        whether domestic or foreign, or direct or indirect Interests therein, or other rights arising therefrom, including
        the Copyrights therein, which are currently owned, controlled, published and/or administrated by UMPG
        pursuant to the UMPG Agreements, as set forth on Schedule C attached hereto and made a part hereof, as well
        as any Derivative Works related thereto in which UMPG claims an Interest pursuant to the UMPG Agreements.


As authorized by that certain sale order [Doc. No. xxx] (the “Sale Order”) of the Bankruptcy Court entered in the
Bankruptcy Case on XXXXX, 2023, and in accordance with the express terms of the Sale Order, in exchange for good and
valuable consideration, the receipt and sufficiency of which are hereby mutually acknowledged, Assignor hereby sells,
assigns, transfers to Assignee, its successors and assigns, and Assignor hereby acquires and accepts from Assignor the
Bankruptcy Estate’s undivided right, title, and interest in and to the Transferred Assets.

Assignor incorporates by reference the express terms of the Sale Order and Purchase Agreement into this Assignment.

This Assignment shall be binding upon and inure solely to the benefit of Assignor and Assignee and their successors and
permitted assigns. This Assignment shall be governed by, and construed in accordance with, the laws of the State of
Georgia, without regard to its conflict of laws principles. The Bankruptcy Court shall have exclusive jurisdiction over
Assignor and Assignee for enforcement of this Assignment and any and all disputes, controversies, or claims regarding
the interpretation, validity, construction or other issue relating to or concerning this Assignment. If any provision of this
Assignment shall be held void, invalid or inoperative, no other provisions of this Assignment shall be affected and the
remaining provisions of this Assignment shall remain in full force and effect.



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IN WITNESS WHEREOF, the undersigned has duly executed this Assignment on the date hereof.
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ASSIGNOR:                                          STATE OF _______________________________
                                                   COUNTY OF ___________________, ss.:

______________________________________             On ____________, 2023, before me, personally
S. Gregory Hays, as and only as the Chapter 7      appeared S. Gregory Hays, personally known to me or
trustee of the Bankruptcy Estate of Todd Anthony   proved to me on the basis of satisfactory evidence to
Shaw p/k/a “Too Short”                             be the person whose name is subscribed to the within
                                                   instrument and that, by his signature on the
                                                   instrument the person, executed said instrument.


                                                   _______________________________________
                                                   Notary Public
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                                                        EXHIBIT 3
                                                 Copyright Assignment

Reference is hereby made to that certain asset purchase agreement dated April 5, 2023 (the “Asset Purchase
Agreement”), between S. Gregory Hays, as and only as the Chapter 7 trustee (“Assignor”) of the bankruptcy estate (the
“Bankruptcy Estate”) of Todd Anthony Shaw p/k/a “Too Short”, individually and sometimes d/b/a Srand Music (BMI)
(“Artist-Writer”), on the one hand, and Reservoir Media Management, Inc. (“Assignee”), on the other hand. Unless
otherwise defined herein, all capitalized terms used herein shall have the meanings ascribed to them in the Asset
Purchase Agreement. In the event of any inconsistencies between this copyright assignment (“Assignment”) and the
Asset Purchase Agreement, the Asset Purchase Agreement shall control.

As authorized by that certain sale order [Doc. No. xxx] (the “Sale Order”) of the Bankruptcy Court entered in the
Bankruptcy Case on XXXXX, 2023, and in accordance with the express terms of the Sale Order, for valuable consideration,
receipt of which is hereby acknowledged, effective as of October 1, 2022, Assignor hereby sells, assigns and transfers to
Assignee an undivided One Hundred Percent (100%) of all of the Bankruptcy Estate’s right, title and interest in and to
those certain musical compositions set forth on Schedule 1 attached hereto and made a part hereof and any Derivative
Works (as defined below) thereof (each a “Subject Composition”, and collectively, the “Subject Compositions”),
including, without limitation, the Copyrights (as defined below) therein and thereto (to the extent of the Bankruptcy
Estate’s ownership interest therein), and all renewals, revivals and extensions thereof throughout the universe and any
reversionary interest of any kind and any similar rights whether now or hereafter known throughout the universe.

“Derivative Work” means, with respect to any musical composition, musical work or sound recording, any arrangement,
adaptation, edition, translation, interpolation or sample thereof or any other derivative work based thereon, and all
right, title and interest in and to such derivative work.

“Copyrights” means all rights under United States federal or state copyright or foreign copyright, including, all renewals,
extensions, continuations, restorations, revivals and reversions thereof (whether vested, contingent or inchoate,
whether registered or unregistered and whether such renewals, extensions, continuations, restorations, revivals and
reversions are now in existence or come into existence for any reason, including as a result of future legislation or the
interpretation thereof), in all countries of the world or otherwise throughout the universe, as well as all United States
or foreign applications for copyright registration and all causes of action, including those for infringement, arising from
the date of creation of the work subject to such copyright, whether now known or unknown to Assignor or Assignee in
all events.

Assignor incorporates by reference the express terms of the Sale Order and Asset Purchase Agreement into this
Copyright Assignment.

If any provision of this Assignment shall be held void, invalid or inoperative, no other provision of this Assignment shall
be affected as a result thereof and, accordingly, the remaining provisions of this Assignment shall remain in full force
and effect.

IN WITNESS WHEREOF, the undersigned duly executed this Assignment this ____ day of ________________, 2023.

ASSIGNOR:



_________________________________________
S. Gregory Hays, as and only as the Chapter 7 trustee of
the Bankruptcy Estate of Todd Anthony Shaw
 p/k/a “Too Short”
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                                                        EXHIBIT 4
                                   Notice of Assignment / General Letter of Direction

                                                    S. Gregory Hays,
                                          as and only as the Chapter 7 trustee
                                    of the bankruptcy estate of Todd Anthony Shaw
                                            c/o Hays Financial Consulting, LLC
                                           2964 Peachtree Road NW, Ste. 555
                                                   Atlanta, GA 30305



                                                                                                 Dated as of: April 5, 2023

To Whom It May Concern:

   Re:      Notice of Sale and Assignment of Royalties – Todd Anthony Shaw p/k/a “Too Short”

Dear Sir/Madam:

        Reference is made to the Asset Purchase Agreement dated April 5, 2023 (the “Effective Date”), between S.
Gregory Hays, as and only as the Chapter 7 trustee (“Seller”) of the bankruptcy estate (the “Bankruptcy Estate”) of Todd
Anthony Shaw p/k/a “Too Short”, individually and sometimes d/b/a Srand Music (BMI) (“Artist-Writer”), on the one hand,
and Reservoir Media Management, Inc. (“Purchaser”), on the other hand (the “Purchase Agreement”).

          Please be advised that in accordance with the express terms of that certain sale order [Doc. No. xxx] (the “Sale
Order”) of the United States Bankruptcy Court, Northern District of Georgia, Atlanta Division entered in the Bankruptcy
Case (Case No. 09-61855-BEM) of Todd Anthony Shaw p/k/a “Too Short” on XXXXX, 2023, and pursuant to the Purchase
Agreement, Seller has sold, transferred and/or otherwise assigned to Purchaser an undivided one hundred percent
(100%) interest in all of the Bankruptcy Estate’s right to collect and receive: (i) all royalties and other income credited,
paid and/or payable to Artist-Writer and/or Seller in respect of any and all of the musical compositions and musical
works created, written, or composed, in whole or in part, by Artist-Writer as set forth on Schedule A and Schedule B
attached hereto and made a part hereof, as well as any arrangement, adaptation, edition, translation or sample of such
composition(s) or any other derivative work(s) based thereon (the “Subject Compositions”), including, without
limitation, the so-called “writer’s share” of public performance royalties deriving from Artist-Writer’s authorship interest
in the Subject Compositions; and (ii) all royalties and other income credited paid and/or payable to Artist-Writer and/or
Seller in respect of those sound recordings as set forth on Schedule C attached hereto and made a part hereof, as well
as any arrangement, adaptation, edition, translation or sample of such recording(s) or any other derivative work(s) based
thereon (the “Subject Recordings”), including, without limitation, the so-called “featured artist” or “featured performer”
share of “neighboring rights” royalties payable in respect of the featured performances of Artist-Writer embodied in the
Subject Recordings by the applicable society or agency in the territory concerned (e.g., SoundExchange in the United
States pursuant to Section 114(g) of the U.S. Copyright Act) (collectively, the “Royalties”). As of the Effective Date,
Purchaser is entitled, regardless of when earned, to receive all Royalties otherwise payable to Seller on or after October
1, 2022.

         Accordingly, until further instructed by Purchaser or its successors or assigns, you are hereby authorized and
instructed to remit, in accordance with the Purchase Agreement, all Royalties, along with all statements and
correspondence pertaining thereto, to Purchaser at the following address:

                           Reservoir Media Management, Inc.
                           200 Varick Street, Suite 801A
                           New York, New York 10014
                           Attn: Royalty Department
                           Email: royalties@reservoir-media.com
                           Federal I.D. Number: XX-XXXXXXX
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        Please mark your records accordingly and acknowledge receipt of this notification by signing the enclosed copy
and returning it to Purchaser at the address set forth above.


                                                            Very truly yours,



                                                            S. Gregory Hays, as and only as the Chapter 7 trustee
                                                            of the Bankruptcy Estate of Todd Anthony Shaw p/k/a
                                                            “Too Short”



                                                            ACKNOWLEDGED:

                                                            By:
                                                            Name:
                                                            Title:
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                                                        EXHIBIT 5
                                                 SME Letter of Direction


                                                    S. Gregory Hays,
                                          as and only as the Chapter 7 trustee
                                    of the bankruptcy estate of Todd Anthony Shaw
                                            c/o Hays Financial Consulting, LLC
                                           2964 Peachtree Road NW, Ste. 555
                                                   Atlanta, GA 30305



April 5, 2023


Sony Music Entertainment
Attention: Royalty Helpdesk
301 Route 17 North, 11th Floor
Rutherford, NJ 07070

         Re:      Notice of Assignment of Royalties – Todd Anthony Shaw p/k/a “Too Short”


Gentlepersons:

Reference is made to the Sony Music (“Sony”) vendor numbers concerning the Sony account numbers and names listed
on Schedule A attached to and made a part of this letter (the “Sony Accounts”).

Please be advised that as of April 5, 2023 (the “Effective Date”) in accordance with the express terms of that certain sale
order [Doc. No. xxx] (the “Sale Order”) of the United States Bankruptcy Court, Northern District of Georgia, Atlanta
Division entered in the Bankruptcy Case (Case No. 09-61855-BEM) of Todd Anthony Shaw p/k/a “Too Short” on XXXXX,
2023, and pursuant to an asset purchase agreement between S. Gregory Hays, as and only as the Chapter 7 trustee
(“Seller”) of the bankruptcy estate (the “Bankruptcy Estate”) of Todd Anthony Shaw p/k/a “Too Short”, individually and
sometimes d/b/a Srand Music (BMI) (“Artist-Writer”), on the one hand, and Reservoir Media Management, Inc.
(“Purchaser”), on the other hand, Seller assigned to Purchaser all of the Bankruptcy Estate’s rights to receive royalties
and other income, including, to the extend assignable to Purchaser, any audit recoveries, that are credited to the Sony
Accounts and paid and/or payable to Seller on or after October 1, 2022 (the “Royalties”).

Accordingly, until such time as you receive further instruction from Purchaser or its successors or assigns, Sony is hereby
authorized and directed, as of the Effective Date and thereafter:

       (i)      to pay to Purchaser, accompanied by statements, all Royalties, regardless of when earned such
payments to be made via wire as follows:

                           Reservoir Media Management, Inc.
                           200 Varick Street, Suite 801A
                           New York, New York 10014
                           Attn: Royalty Department
                           Federal I.D. Number: XX-XXXXXXX
                           Email: royalties@reservoir-media.com

         (ii)     to send any and all correspondence concerning the Royalties to Purchaser at the following address:

                           Reservoir Media Management, Inc.
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                         200 Varick Street, Suite 801A
                         New York, New York 10014
                         Attn: Royalty Department
                         Federal I.D. Number: XX-XXXXXXX
                         Email: royalties@reservoir-media.com

Please mark your records accordingly. Your acknowledgement of receipt of this Notice of Assignment by signing the
enclosed copy and returning it to Purchaser at the address set forth above would be appreciated.

                                                            Very truly yours,



                                                            _________________________________
                                                            S. Gregory Hays, as and only as the Chapter 7
                                                            trustee of the Bankruptcy Estate of
                                                            Todd Anthony Shaw p/k/a “Too Short”




ACKNOWLEDGED:


By:
Name:
Title:
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                                      EXHIBIT 5A

                            Sony Change Request Payee Form

                                     See attached
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                                         CHANGE REQUEST: PAYEE FORM
                                                                    Email: royalty.statements@sonymusic.com
Please complete and return this form by:
                                                                    Fax:       (201) 777-3047 [Attention: Royalty Helpdesk]
 * Designates required field
* Account Type:                                                     Mail:      Sony Music Entertainment
                                                                               Attention: Royalty Helpdesk
   Artist         Publisher          Management                             301 Route 17 North, 11th Floor
   Producer  Third Party/Other                                               Rutherford, NJ 07070 USA

* Change Request (select one):
   Payee (Vendor) Add Request
  X Payee (Vendor) Change Request
  
   Payee (Vendor) Change Request (related to death of royalty participant)
             ¾ Include recently certified copy of the letter testamentary (legal will) or letters of administration providing details on
             who should be receiving these royalties and a copy of the death certificate.
  X I approve adding a new participant as my authorized representative. My authorized representative will be entitled to
  
  receive a copy of my royalty summary statement by mail and access to Sony Music’s Artist Portal. In addition, I authorize Sony
  Music to answer any questions my representative raises concerning my royalty accounting. I understand that to revoke this access I
  must advise the Sony Music Entertainment Royalty Helpdesk in writing.
                                                                     S. Gregory Hays, Chapter 7 trustee of the bankruptcy estate of Todd Anthony Shaw p/k/a Too Short
 * Print Name of Sony Music Royalty Payee (Vendor):
 * Address:     c/o Hays Financial Consulting, LLC
                    2964 Peachtree Road NW, Ste. 555, Atlanta, GA 30305 Attn: Gregory Hays
 * Telephone Number:                                                        * Email Address: ghays@haysconsulting.net / saskue@haysconsulting.net
 * Print Name of NEW Payee or Authorized Representative: Reservoir Media Management, Inc.
 * Address:    200 Varick Street, Suite 801A
               New York, NY 10014
 * Telephone Number: 212-675-0541                                                * Email Address:               royalties@reservoir-media.com

 Please indicate all accounts effected by this change
 request. If it is ALL, then write “ALL ACCOUNTS”:                    ALL ACCOUNTS of the Bankruptcy Estate of Todd Anthony Shaw p/k/a Too Short
 By signing below, I warrant and represent that: (a) I have full and complete authority to request the change(s) set forth herein to the
 account(s) referenced above, and, if the party requesting such change(s) is an entity, I am fully authorized to act and request such change(s)
 on behalf of such entity; (b) the implementation of the change(s) requested herein will not violate or infringe upon the rights of any other
 party; (c) the information stated herein is truthful and accurate; and (d) I shall indemnify and hold Sony Music Entertainment harmless
 against any and all claims and any and all damages, losses or expenses Sony Music Entertainment may incur by reason of implementation of
 the change(s) requested herein and/or as a result of the breach of any of the foregoing warranties and representations.
                              * PRINT YOUR NAME HERE:                                                                                   * TODAY’S DATE:
                                S. Gregory Hays, Chapter 7 trustee of the bankruptcy estate of Todd Anthony
       * Notarize               Shaw p/k/a "Too Short"
        this form
          here                * SIGN HERE Sony Music Royalty Payee (Vendor):


  Check here to confirm a W-9 Tax Form (U.S. resident), W8BEN or 8233 (non U.S. resident) has been attached. IF A TAX FORM
 IS NOT PROVIDED, SONY MUSIC ENTERTAINMENT MAY BE REQUIRED TO WITHHOLD TAXES FROM YOUR ROYALTY PAYMENT.
 Thank you for assisting us in maintaining up to date records regarding your royalty account. Once your form is received by Sony Music, your change request
 will be reviewed. We will contact you if additional supporting documentation is required in order to ensure the accuracy and validity of your request. Sony
 Music reserves the right to require you to sign and deliver an affidavit affirming the information provided to Sony Music herein.                           v16
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                                                       EXHIBIT 6

                                              UMPG Letter Of Direction

                                                   S. Gregory Hays,
                                         as and only as the Chapter 7 trustee
                                   of the bankruptcy estate of Todd Anthony Shaw
                                           c/o Hays Financial Consulting, LLC
                                          2964 Peachtree Road NW, Ste. 555
                                                  Atlanta, GA 30305



                                                                                          As of the 5 day of April, 2023

Universal Music Publishing Group (“Universal”)
2100 Colorado Avenue,
Santa Monica, CA 90404
Attn: Chief Counsel

Gentlepersons:

         1.       Please be advised that: (a) on January 26, 2009, Todd Anthony Shaw p/k/a “Too Short” (“Writer”) filed
a voluntary petition for relief under Chapter 7 of Title 11 of the United States Code in the United States Bankruptcy
Court, Northern District of Georgia, Atlanta Division; and (b) S. Gregory Hays was appointed and remains the Chapter 7
trustee (“Grantor”) for Writer’s bankruptcy estate (the “Bankruptcy Estate”), and as such, Grantor is the sole
representative of the Bankruptcy Estate under 11 U.S.C. Section 323(a).

        2.        By the terms and conditions of: (i) that certain co-publishing agreement dated as of February 2, 1988,
between Zomba Enterprises Inc. (ASCAP) and Willesden Music Inc. (BMI), on the one hand, and Randy Austin and Todd
Shaw d/b/a Srand Music (BMI), on the other hand, as amended by that certain amendment thereto dated as of April 5,
1989; and (ii) that certain co-publishing agreement dated as of April 1, 1994, between Zomba Enterprises Inc., on the
one hand, and Dangerous Music, Inc. f/s/o Todd Shaw p/k/a “Too Short”, on the other hand, as amended by that certain
amendment thereto dated as of May 9, 1997 (collectively, the “Agreements”), Universal is required (subject to the terms
and conditions of the Agreements) to make certain payments to Grantor.

         3.      Although the Agreements provide for all royalty amounts becoming payable thereunder (“Royalty
Payments”) to be paid to Grantor, in accordance with the express terms of that certain sale order [Doc. No. xxx] (the
“Sale Order”) of the United States Bankruptcy Court, Northern District of Georgia, Atlanta Division entered in the
Bankruptcy Case (Case No. 09-61855-BEM) of Writer on XXXXX, 2023, Grantor hereby requests and authorizes Universal
to pay one hundred percent (100%) of all Royalty Payments directly to Reservoir Media Management, Inc. (the
“Authorized Party”). Authorized Party requests that all Royalty Payments be paid by direct deposit in accordance with
the information specified on Universal's payment information and tax forms, which are attached hereto.

        4.       Grantor hereby acknowledges and confirms that all payments hereunder shall constitute payments to
Grantor under the Agreements.

         5.       Universal’s compliance with this authorization shall constitute an accommodation to Grantor alone.
This authorization and Universal’s compliance therewith shall not constitute an assignment of Grantor’s rights under
the Agreements to the Authorized Party. The Authorized Party is not a beneficiary of any advances or Royalty Payments
and/or the Agreements. This letter shall not be deemed to give any right or remedy to the Authorized Party.
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        For the avoidance of doubt, this Letter of Direction is freely revocable by Grantor, Universal and/or the
Authorized Party at any time.



                                                  Very truly yours,


                                                  ________________________________________
                                                  S. Gregory Hays, as and only as the Chapter 7 trustee
                                                  of the bankruptcy estate of Todd Anthony Shaw p/k/a “Too
                                                  Short”
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                                                        EXHIBIT 7


                                                 BMI Letter of Direction

                                                    S. Gregory Hays,
                                          as and only as the Chapter 7 trustee
                                    of the bankruptcy estate of Todd Anthony Shaw
                                            c/o Hays Financial Consulting, LLC
                                           2964 Peachtree Road NW, Ste. 555
                                                   Atlanta, GA 30305


As of April 5, 2023

Broadcast Music, Inc. (“BMI”)
7 World Trade Center
250 Greenwich Street
New York, NY 10007-0030

         Re:      Letter of Direction – Todd Anthony Shaw p/k/a “Too Short”

Gentlepersons:

Please be advised that, as of April 5, 2023 (the “Effective Date”) in accordance with the express terms of that certain
sale order [Doc. No. xxx] (the “Sale Order”) of the United States Bankruptcy Court, Northern District of Georgia, Atlanta
Division entered in the Bankruptcy Case (Case No. 09-61855-BEM) of Todd Anthony Shaw p/k/a “Too Short” on XXXXX,
2023, and pursuant to an asset purchase agreement between S. Gregory Hays, as and only as the Chapter 7 trustee
(“Seller”) of the bankruptcy estate (the “Bankruptcy Estate”) of Todd Anthony Shaw p/k/a “Too Short”, individually and
sometimes d/b/a Srand Music (BMI) (“Writer”), on the one hand, and Reservoir Media Management, Inc. (“Reservoir”),
on the other hand, Seller has sold, transferred and/or otherwise assigned to Reservoir, among other things, an undivided
one hundred percent (100%) interest in one hundred percent (100%) of the Bankruptcy Estate’s share of the so-called
“writer’s share” of public performance royalties payable by BMI in respect of the Compositions (as defined below),
payable on or after October 1, 2022, regardless of when earned (collectively, the “Royalties”).

“Compositions” means the musical works and musical compositions in the BMI songwriter catalogue of Writer (BMI
Writer Account No. 003288223) that are listed on Schedule A annexed hereto and by this reference made a part hereof,
as well as any arrangements, adaptations, editions, translations, or samples of such compositions or any other derivative
works based thereon.

Accordingly, until such time as BMI receives further instruction from Reservoir or its successors or assigns, BMI is hereby
directed and authorized by the undersigned, as of the Effective Date and thereafter, in accordance with the payment
instructions below, to pay all Royalties to Reservoir. All payments and statements as well as any notices or
correspondence in connection with the Royalties and/or the Compositions should be sent to Reservoir at the following
address:

                  Reservoir Media Management, Inc.
                  200 Varick Street, Suite 801A
                  New York, New York 10014
                  Attn: Royalty Department
                  Federal I.D. Number: XX-XXXXXXX
                  Email: royalties@reservoir-media.com
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Please mark your records accordingly. Your acknowledgement of receipt of this Notice of Assignment by signing the
enclosed copy and returning it to Reservoir at the address set forth above would be appreciated.




                                                            Very truly yours,


                                                            ____________________________________
                                                            S. Gregory Hays, as and only as the Chapter 7
                                                            trustee of the bankruptcy estate of
                                                            Todd Anthony Shaw p/k/a “Too Short”

ACKNOWLEDGED AND AGREED:

BROADCAST MUSIC, INC. (“BMI”)

By:__________________________________
Name:_______________________________
Title:________________________________
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                                       EXHIBIT 7A


                         BMI Royalty Assignment Verification Form



                                       See attached
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        BMI       ®


        INSTRUCTIONS FOR COMPLETING THE BMI ROYALTY ASSIGNMENT FORM

    A. Complete a separate form for EACH person or company to whom you wish to
       assign your royalties. Sign and date the form in front of a notary public who
       should sign and stamp where indicated.

    B. ONCE YOUR ASSIGNMENT IS SUBMITTED TO BMI, YOU WILL HAVE
       PERMANENTLY SOLD YOUR ROYALTY STREAM. IT CANNOT BE
       WITHDRAWN OR LIMITED IN TIME. TO RECLAIM YOUR ROYALTIES, AN
       ASSIGNMENT WILL HAVE TO BE MADE BACK TO YOU FROM THE OTHER
       PARTY.

    C. If BMI does not already have the social security number (for a person) or
       Taxpayer Identification Number (for a company or trust) in its records, you must
       submit an IRS Form W-9 for the person or company to which you have assigned
       your royalties. You can get a Form W-9 at www.irs.gov.

    D. If you executed a separate assignment document for the same transaction
       covered by the BMI Royalty Assignment Form, please do not send that document
       to BMI. The form will be used to update our records to pay the other party and no
       attempt will be made to compare the form with any separate document.

    E. If your assignment is for less than your whole catalogue you must attach to the
       form a schedule listing the title and BMI work number of the individual works and
       cues whose royalties are being assigned. Sign each page. Only the works on the
       schedule will be processed as part of the assignment.

    F. Return the form (with the W-9, if applicable) by postal mail to BMI Performing
       Rights Administration, 10 Music Square East, Nashville, TN 37203. Attn: Royalty
       Assignment Group, or as an attachment to an e-mail sent to RAF@bmi.com.

    G. A $500 processing fee will be deducted from the first royalties payable under the
       assignment. The fee is $250 if the entity to which you are assigning your royalties
       is a corporation, LLC or trust solely owned by you. The fee is waived if the form is
       submitted with an application for BMI affiliation or with the submission of a BMI
       Estate Questionnaire for a deceased affiliate.

    H. If you have any questions about the completion of the form, please send them by
       e-mail to RAF@bmi.com. We will reply as promptly as possible.

               When BMI processes your assignment, it will create a payee account for each
        person, company or trust to which you assigned your royalties and you will not have
        access to that account or any information in it without their permission.



 RAF-INSTR 3/12
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   BMI          ®

                                                        ROYALTY ASSIGNMENT FORM
                USE THIS FORM TO ASSIGN ROYALTIES EARNED BY WORKS IN YOUR BMI CATALOGUE TO
                ANOTHER  PERSON  OR  COMPANY.  YOUR  “WORKS”  INCLUDE  THOSE  SUBMITTED  TO  BMI  ON  
                REGISTRATION FORMS, ONLINE OR VIA CUE SHEETS FROM THIRD PARTIES. AN ASSIGNMENT WITH
                RESPECT TO LESS THAN A WHOLE CATALOGUE WILL BE ACCEPTED ONLY IF ALL THE WORKS OF
                WHICH ROYALTIES ARE BEING ASSIGNED ARE IN YOUR CATALOGUE WHEN THIS FORM IS
                RECEIVED AND ARE LISTED ON AN ATTACHED SCHEDULE. IF YOU ARE ASSIGNING YOUR
                COPYRIGHTS UNDER A SONGWRITER/PUBLISHER AGREEMENT, YOU SHOULD NOT USE THIS FORM.
                PUBLISHER ROYALTIES WILL BE PAID TO THE PUBLISHER THAT ACQUIRED THE COPYRIGHTS.
                       Gregory Hays, Chapter 7 trustee of the bankruptcy
   1. My name estate of Todd Anthony Shaw p/k/a “Too Short”
              d/b/a Srand Music(BMI)
                                                                                      2. My social security number

   3. I am permanently and irrevocably assigning (Insert a number between 1 and 100) 100                                                 % of my royalties

   as indicated in number 4 below from my BMI account number(s) 003288223 (Writer Account)                                                                     to
                              (State their name, complete address and contact person if a company or other entity)
    Reservoir Media Management, Inc.
    200 Varick Street, Suite 801A
    New York, New York 10014             Attn: Rell Lafargue, President & COO
   E-mail address of above party (for online access to account)                           jm@reservoir-media.com; royalties@reservoir-media.com

   If a company or other entity is entered above, is it solely owned by you?                                        Yes         No

   4. My assignment applies to (You must initial inside one applicable box below)
        my royalties earned from all works that are in my BMI catalogue on the date of this assignment or
   that may be entered into in my BMI catalogue afterwards.

        my royalties earned only from the works that are in my BMI catalogue on the date of this
   assignment, but not my royalties earned by works that may be entered into my catalogue afterwards.

                                                                                                                           the Bankruptcy Estate's
          my royalties earned only by the works on the attached schedule.

   CERTIFICATION AND TRANSFER: I warrant and represent to BMI that, by my signature below, I am knowingly
   and without coercion assigning as specified above my right to receive my BMI royalties to the party named
   above, that I have consulted a legal or financial advisor regarding the implications of the assignment or have
   knowingly waived my right to do so, that I am making the assignment with full knowledge and understanding of
   its consequences with respect to payment of my BMI royalties, that I have received valuable consideration for
   making the assignment, that I intend for the assignment to be irrevocable, and that I have not made the
   assignment with the intent to evade the income tax or other laws of the United States or of any state or local
   jurisdiction or foreign nation to which I may be subject.

   __________________________________________Today’s  Date:
                    Sign on the line above

   Sworn to and subscribed before me at                                                              on                                                       20


   ____________________________________                                       IMPRINT NOTARY
                    Signature of Notary Public                                STAMP HERE:

   This assignment will not be processed if any portion is incomplete. BMI will update its records to pay the assignee as of the royalty distribution following
   completion of processing. However, due to the nature of some assignments, several royalty distributions may be made before processing is completed. Also,
   the limitations  of  BMI’s  systems  may  cause  some royalties on some assigned works to be paid to the assignor, including but not limited to retroactive royalty
   payments and foreign royalties. Assignments are only accepted subject to those conditions and no retroactive adjustments are available. The fee for
   processing an assignment is $500 per payee, except if the payee is a corporation, LLC or trust of which you are sole owner, for which the fee is $250. There is
   no fee if this assignment is submitted with an application for BMI affiliation or with an Estate Questionnaire for a deceased BMI affiliate.




   RAF 3/12
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                                           EXHIBIT 8


              Certification of Assignment of SoundExchange Feature Artist Royalties


                                          See attached
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                           ASSIGNMENT OF SOUNDEXCHANGE
                             FEATURED ARTIST ROYALTIES

 As a general matter, SoundExchange will only pay Featured Artist royalties directly to the
 performer who earned the royalties. SoundExchange will, however, honor an assignment of
 Featured Artist royalties provided that all of the following conditions have been met:

            1. The assignment is made by a performer who is directly registered with
               SoundExchange to an assignee, who must also be directly registered with
               SoundExchange (either prior to the assignment or in connection with the
               assignment).

            2. Performers whose royalties are subject to liens, levies, court orders or other
               encumbrances are not eligible to assign their royalties.

            3. The assignment is irrevocable.

            4. The performer making the assignment has earned at least $25,000 in featured
               artist royalties from SoundExchange during the three (3) year period immediately
               prior to the date of the assignment. SoundExchange will not honor any
               assignment that includes future recordings.

            5. The assignment is related to an arms-length transaction between the undersigned
               for the fair market value of the performer’s SoundExchange featured artist
               royalties, and is not part of, or a condition to, enter into a new, or amend an
               existing, recording, publishing, management or other agreement. Notwithstanding
               the foregoing, if the assignment is part of a larger transaction for, all or a portion
               of, the performer's professional assets (e.g., a purchase of publishing rights, sound
               recording royalties, SoundExchange royalties, merchandise, etc.); the performer
               must have earned a minimum of $100,000 in featured artist royalties from
               SoundExchange.

            6. The assignment agreement has been personally signed by the performer. Any
               assignments by minors must be reaffirmed upon their reaching the age of
               majority.

            7. The undersigned acknowledge that they each have been represented by
               independent counsel for the purpose of advising them in connection with the
               arms-length transaction or fair market value related to this assignment.




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 The undersigned hereby represents and warrants to SoundExchange that the conditions set forth
 above have been met (or, in the case of condition 6, will be met) with regard to the recordings set
 forth on Exhibit A attached hereto.

 Any assignment implemented by SoundExchange shall apply to future royalties and royalties
 unpaid as of when the assignment is processed by SoundExchange. SoundExchange will not
 process any assignments retroactively.

 All post-assignment adjustments, including debits and credits, shall be the sole responsibility of
 assignee, regardless of when the royalty-bearing transmissions occurred or the royalties accrued.

 All Letters of Direction currently on file with SoundExchange paying a portion of the featured
 artist royalties assigned herein to creative participants (e.g., producers, mixers, engineers) will be
 transferred to the assignee’s account and SoundExchange will continue to pay the creative
 participants.

 If any dispute arises between the undersigned regarding this assignment that results in litigation,
 SoundExchange will put all assigned royalties on hold until the parties resolve the dispute and
 communicate such resolution (i.e., court order or settlement agreement) to SoundExchange. For
 the avoidance of doubt, SoundExchange will not resolve the dispute for the parties.

 The undersigned will, at all times, defend, indemnify and hold harmless SoundExchange, Inc.
 and its predecessors-in-interest, successors, and affiliates, and their respective board members,
 officers and employees, from and against any and all claims, damages, liabilities, costs and
 expenses, including legal expenses and any reasonable outside counsel fees, relating to or arising
 out of this assignment.


 IN WITNESS WHEREOF, the undersigned do hereby execute this Agreement by duly
 authorized officials as of the last date set forth below:

 PERFORMER                                                       ASSIGNEE

 *Signed:                                                        Signed:
                    S. Gregory Hays, Chapter 7 Trustee,
 Printed Name: Todd Anthony Shaw p/k/a "Too Short"               Printed Name: Rell Lafargue

 SoundExchange Payee ID: 2179729174                              Title: President & COO

 SoundExchange Payee Name: S. Gregory Hays, Chapter 7 Trustee,
                           Todd Anthony Shaw
                                                                 Company: Reservoir Media Management, Inc.

 Date:                                                           Assignee Payee ID: 1000073760

                                                                 Assignee Payee Name: Reservoir Media Management, Inc.

                                                                 Date:


 *This document must be (i) signed by the performer, (ii) dated, and (iii) notarized. SoundExchange will
 not accept a submission that is signed by a proxy or representative for the performer.



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                                       EXHIBIT 9


                        SoundExchange Account Authorization Form


                                      See attached
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                    ACCOUNT AUTHORIZATION FORM – PRIMARY CONTACT

LEGAL NAME OF PERFORMER

           Todd Anthony Shaw p/k/a "Too Short"
(Print): ___________________________________________________________

SOUNDEXCHANGE PAYMENT NAME [company or individual]

             S. Gregory Hays, Chapter 7 Trustee, Todd Anthony Shaw
(Print): ____________________________________________________________

I hereby authorize the following individual or entity to act on my behalf with respect to managing,
maintaining and administering my account with SoundExchange, Inc. This includes, but is not limited
to, modifying payee contact information; claiming repertoire; and collecting foreign royalties pursuant
to a membership agreement and international mandate signed either by me or the following
authorized individual or entity.

NAME OF AUTHORIZED INDIVIDUAL OR ENTITY:

            Reservoir Media Management
(Print): ____________________________________________________________

☐
x I further authorize the above-named individual or entity to execute Letters of Direction on my
behalf. (check box or leave blank)

This Account Authorization Form is effective as of the date set forth below, and may be revoked by me
at any time for any reason. I hereby confirm that SoundExchange, and each of its directors, officers,
employees, agents, representatives, successors and assigns (“Affiliates”) may rely on this Account
Authorization Form until notified of revocation via a SoundExchange Revocation of Account
Authorization Form signed by me. I hereby agree to indemnify and hold SoundExchange and each of its
Affiliates harmless from and against any and all claims, liabilities, suits, losses, damages, and
expenses, including, without limitation, costs and reasonable attorney’s fees, arising in connection with
or related to this Account Authorization Form.

This Account Authorization Form shall be governed by and construed in accordance with the laws of
the District of Columbia. the State of Georgia, without regard to its conflict of laws principles.

SoundExchange requires that this Account Authorization Form be signed by the Performer.

PERFORMER

Performer Signature: ___________________________________________________________

                               S. Gregory Hays, Chapter 7 Trustee, Todd Anthony Shaw
Performer Legal Name (Print): ____________________________________________________

Date of Signature: ______________________________________________________________
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                        TRUSTEE EXHIBIT “2” FOLLOWS
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


                                        )                  CHAPTER 7
 IN RE:                                 )
                                        )                  CASE NO. 09-61855-BEM
 TODD ANTHONY SHAW,                     )
                                        )
       Debtor.                          )
                                        )
                                        )
 S. GREGORY HAYS, as Chapter 7 trustee, )
                                        )
       Movant,                          )
                                        )
 v.                                     )                  CONTESTED MATTER
                                        )
 THE INTERNAL REVENUE SERVICE,          )
 SOUND EXCHANGE, INC., BROADCAST )
 MUSIC, INC., SONY MUSIC                )
 ENTERTAINMENT, BOBBY FRANK             )
 ELLERBEE, as Administer of ESTATE OF   )
 JAMES F. ELLERBEE, BOBBY FRANK         )
 ELLERBEE, THE GEORGIA DEPARTMENT )
 OF REVENUE, GUILFORD FOREST            )
 HOMEOWNERS ASSOCIATION, INC.,          )
 COLLECTIONS INC. OF SAN FRANCISCO )
 A CALIFORNIA CORPORATION, RONNIE )
 JACKSON, JR., and TODD ANTHONY SHAW, )
                                        )
       Respondents.                     )
                                        )

     NOTICE OF HEARING ON TRUSTEE’S MOTION FOR AUTHORITY TO SELL
        PROPERTY OF THE BANKRUPTCY ESTATE FREE AND CLEAR OF
              LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES


          PLEASE TAKE NOTICE that on May 1, 2023, S. Gregory Hays, as Chapter 7 Trustee

 (“Trustee”) for the bankruptcy estate (the “Bankruptcy Estate”) of Todd Anthony Shaw

 (“Debtor”), filed Trustee’s Motion for Authority to Sell Property of the Bankruptcy Estate Free
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 and Clear of Liens, Claims, Interests, and Encumbrances [Doc. No. 280] (the “Sale Motion”) and

 related papers with the Court, seeking, among other things, an order from the Court authorizing

 Trustee to sell the Bankruptcy Estate’s right, title, and interest in and to certain Transferred Assets 1

 under 11 U.S.C. §§ 363(b), (f), and (m), and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c), and

 9014, to Reservoir Media Management, Inc. (the “Purchaser”), “as is, where is,” for a sale price

 of $7,550,000.00 (the “Purchase Price”), 2 subject to Bankruptcy Court approval (the “Sale

 Agreement”). A true and correct copy of the Sale Agreement is attached as Exhibit “A” to the

 Sale Motion and incorporated herein by reference. In the Sale Motion, Trustee also requests an

 order from the Court: (a) finding that Trustee and Purchaser have proceeded in good faith and that

 Trustee and Purchaser are entitled to the protections of 11 U.S.C. § 363(m); (b) authorizing Trustee

 to execute any documents necessary to consummate the proposed sale, assignment, and transfer of

 the Transferred Assets to Purchaser, including those documents attached to the Sale Agreement as

 Exhibits 1 through 10; (c) approving a Break-Up Fee, as more particularly described in the Sale

 Motion and in accordance with the terms of Section 10.03 of the Sale Agreement; (d) requiring

 the Payors (as defined in the Sale Agreement) to account and pay the applicable royalty payments

 and income (as specified in the Sale Motion) in respect of the Subject Compositions and Subject

 Recordings (as applicable) to Purchaser following the Closing Date, in accordance with the Sale




 1
        Capitalized terms not defined in this notice shall have the meanings ascribed to them in the
 Sale Agreement. The term Transferred Assets is defined at page 7 of the Sale Agreement.
 2
        As set out in the Sale Agreement, there will be a Holdback of $550,000.00 from the
 Purchase Price, and Trustee will keep and set-off any funds he has received since the Cash Date
 of October 1, 2022 against the Purchase Price such that the amount the Purchaser actually pays to
 Trustee will be reduced by the Post-Cash Date Pre-Closing Receipts that Trustee has received.


                                                    2
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 Agreement; and (e) authorizing the proposed sale to be consummated immediately as allowed by

 Federal Rules of Bankruptcy Procedure Rule 6004(h).

        Trustee estimates that the proposed sale will result in sufficient funds coming into the

 Bankruptcy Estate to allow Trustee to make a substantial distribution to holders of filed and

 remaining claims against the Bankruptcy Estate (if not pay them in full) and to make a very large

 surplus distribution to Debtor, in accordance with the Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that although Trustee believes that the proposed

 sale is in the best interest of the Bankruptcy Estate and its creditors, Trustee invites any and all

 parties wishing to submit a competing cash bid, which exceeds the present Purchase Price, with

 no contingencies, and the ability to close within ten (10) days from Bankruptcy Court approval, so

 long as any such bid is filed with the Court in the form of an objection to the Sale Motion within

 two (2) business days of the Hearing (defined below).

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Sale

 Motion on July 11, 2023 (the “Hearing”). The Court will hold an initial telephonic Hearing for

 announcements on the Sale Motion at the following number: 833-568-8864 US Toll-free Meeting

 ID: 160 862 0914 at 10:00 a.m. in Courtroom 1402, United States Courthouse, 75 Ted Turner

 Drive, S.W., Atlanta, Georgia.

        Matters that need to be heard further by the Court may be heard by telephone, by video

 conference, or in person, either on the date set forth above or on some other day, all as determined

 by the Court in connection with this initial telephonic hearing. Please review the “Hearing

 Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual

 Bankruptcy Hearing Information” link at the top of the webpage for this Court,

 www.ganb.uscourts.gov for more information.


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        Your rights may be affected by the Court’s ruling on the Sale Motion. You should read

 Sale Motion carefully and discuss it with your attorney, if you have one in this bankruptcy case.

 (If you do not have an attorney, you may wish to consult one.). If you do not want the Court to

 grant the relief sought in the Sale Motion or if you want the Court to consider your views, then

 you and/or your attorney must attend the hearing. You may also file a written response to the Sale

 Motion with the Clerk at the address stated below, but you are not required to do so. If you file a

 written response, you must attach a certificate stating when, how and on whom (including

 addresses) you served the response. Mail or deliver your response so that it is received by the Clerk

 at least two (2) business days before the Hearing. The address of the Clerk’s Office is: Suite 1340

 Richard B. Russell Federal Building, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303. You must

 also mail a copy of your response to the counsel for the Trustee, Michael J. Bargar, Rountree

 Leitman Klein & Geer LLC, Century Plaza I, 2987 Clairmont Road, Suite 350, Atlanta, GA 30329.

        Dated: May 1, 2023.
                                         ROUNTREE LEITMAN KLEIN & GEER LLC
                                         Attorneys for Trustee

                                         By:/s/ Michael J. Bargar
 Century Plaza I                             Michael J. Bargar
 2987 Clairmont Road, Suite 350              Georgia Bar No. 645709
 Atlanta, GA 30329                           mbargar@rlkglaw.com
 404-410-1220




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                        TRUSTEE EXHIBIT “3” FOLLOWS
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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION
 IN RE: TODD ANTHONY SHAW                                        CASE NO: 09-61855-BEM

 S. GREGORY HAYS, AS CHAPTER 7 TRUSTEE,
 v.                                                              SUPPLEMENTAL
 THE INTERNAL REVENUE SERVICE, SOUND                             CERTIFICATE OF SERVICE
 EXCHANGE, INC., BROADCAST MUSIC, INC.,                          DECLARATION OF MAILING
 SONY MUSIC ENTERTAINMENT, BOBBY FRANK                           Chapter: 7
 ELLERBEE, AS ADMINISTER OF ESTATE OF
 JAMES F. ELLERBEE, BOBBY FRANK ELLERBEE,
                                                                  ECF Docket Reference No. 281
 THE GEORGIA DEPARTMENT OF REVENUE,
 GUILFORD FOREST HOMEOWNERS
 ASSOCIATION, INC., COLLECTIONS INC. OF SAN
 FRANCISCO A CALIFORNIA CORPORATION,
 RONNIE JACKSON, JR. AND TODD ANTHONY
 SHAW.




On 5/2/2023, I did cause a copy of the following documents, described below,
Notice of Hearing on Trustee’s Motion for Authority to Sell Property of the Bankruptcy Estate Free and Clear of Liens,
Claims, Interests, and Encumbrances ECF Docket Reference No. 281




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
com, a Administrative Office of the United States Bankruptcy Courts, Approved Notice Provider. A copy of the declaration
of service is attached hereto and incorporated as if fully set forth herein.

DATED: 5/2/2023
                                                          /s/ Michael J. Bargar
                                                          Michael J. Bargar 645709
                                                          Rountree Leitman Klein & Geer, LLC
                                                          Century Plaza I, 2987 Clairmont Rd., Ste. 350
                                                          Atlanta, GA 30329
                                                          404 584 1238
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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

 IN RE: TODD ANTHONY SHAW                                       CASE NO: 09-61855-BEM


S. GREGORY HAYS, AS CHAPTER 7 TRUSTEE,                          SUPPLEMENTAL
                                                                CERTIFICATE OF SERVICE
v.
THE INTERNAL REVENUE SERVICE, SOUND                             Chapter: 7
EXCHANGE, INC., BROADCAST MUSIC, INC.,
SONY MUSIC ENTERTAINMENT, BOBBY FRANK                           ECF Docket Reference No. 281
ELLERBEE, AS ADMINISTER OF ESTATE OF
JAMES F. ELLERBEE, BOBBY FRANK ELLERBEE,
THE GEORGIA DEPARTMENT OF REVENUE,
GUILFORD FOREST HOMEOWNERS
ASSOCIATION, INC., COLLECTIONS INC. OF SAN
FRANCISCO A CALIFORNIA CORPORATION,
RONNIE JACKSON, JR. AND TODD ANTHONY
SHAW.


On 5/2/2023, a copy of the following documents, described below,
Notice of Hearing on Trustee’s Motion for Authority to Sell Property of the Bankruptcy Estate Free and Clear of Liens,
Claims, Interests, and Encumbrances ECF Docket Reference No. 281




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Certificate of Service and
that it is true and correct to the best of my knowledge, information, and belief.

DATED: 5/2/2023

                                                             /s/ Jay S Jump
                                                             BK Attorney Services, LLC
                                                             d/b/a certificateofservice.com, for
                                                             Michael J. Bargar
                                                             Rountree Leitman Klein & Geer, LLC
                                                             Century Plaza I, 2987 Clairmont Rd., Ste. 350
                                                             Atlanta, GA 30329
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NCRS ADDRESS DOWNLOAD                   INC AS SU                                4600 REGENT BLVD
CASE 09-61855-BEM                                                                SUITE 200
NORTHERN DISTRICT OF GEORGIA                                                     IRVING TX 75063-2478
TUE MAY 2 8-51-0 PST 2023



                                        EXCLUDE
ARIZONA PUBLIC SERVICE                  MICHAEL J BARGAR                         CBA COLLECTION BUREAU
P 0 BOX 53933                           ROUNTREE LEITMAN KLEIN GEER LLC          25954 EDEN LANDING RD
STATION 3200                            CENTURY PLAZA I                          HAYWAID CA 94545-3837
PHOENIX AZ 85072-3933                   2987 CLAIRMONT ROAD SUITE 350
                                        ATLANTA GA 30329-4435




CITIFINANCIAL AUTO CORPORATION AS       CITIFINANCIAL AUTO                       DOUG COLTON
ASSIGNEE O                              P 0 BOX 9575                             MCE MANAGEMENT LLC
MCCULLOUGH PAYNE HAAN LLC               COPPELL TX 75019-9509                    558 ROSEDALE AVENUE
171 17TH STREET NW SUITE 975                                                     NASHVILLE TN 37211-2048
ATLANTA GA 30363-1032




LISA RITCHEY CRAIG                      CREDIT MANAGEMENT                        MONTIE DAY
MCCULLOUGH PAYNE HAAN    LLC            4200 INTERNATIONAL PKWY                  DAY LAW OFFICES
SUITE 2200                              CARROLLTON TX 75007-1912                 P O BOX 1525
271 17TH STREET NW                                                               WILLIAMS CA 95987-1525
ATLANTA GA 30363-6213




MONTIE S DAY                            FRANK W DEBORDE                          DEBT SOLUTION RECOVERY
DAY LAW OFFICES                         MORRIS MANNING MARTIN LLP                900 MERCHANTS CONCOURSE
P O BOX 1525                            1600 ATLANTA FINANCIAL CENTER            SUITE 106
WILLIAMS CA 95987-1525                  3343 PEACHTREE RD NE                     WESTBURY NY 11590-5114
                                        ATLANTA GA 30326-1044




ESTATE OF JAMES F ELLERBEE              FULTON COUNTY TAX COMMISIONERS OFFICE    FULTON COUNTY TAX COMMISSIONER
CO DAVID G CROKETT PC                   141 PRYOR STREET SW SUITE 1113           141 PRYOR STREET SW
1950 THE EQUITABLE BUILING              ATLANTA GA 30303-3566                    ATLANTA GA 30303-3446
100 PEACHTREE STREET NW
ATLANTA GA 30303-1906




(P)GEORGIA DEPARTMENT OF REVENUE        SIDNEY GELERNTER                         SIDNEY GELERNTER
COMPLIANCE DIVISION                     MCCURDY CANDLER LLC                      MCCURDY CANDLER LLC
ARCS BANKRUPTCY                         SIX PIEDMONT CENTER - SUITE 700          SIX PIEDMONT ROAD - SUITE 700
1800 CENTURY BLVD NE SUITE 9100         3525 PIEDMONT ROAD NE                    3525 PIEDMONT ROAD NE
ATLANTA GA 30345-3202                   ATLANTA GA 30305-1578                    ATLANTA GA 30305-1578



EXCLUDE
(D)(P)GEORGIA DEPARTMENT OF REVENUE     HARVARD COLLECTION                       S GREGORY HAYS
COMPLIANCE DIVISION                     4839 N ELSTON AVE                        HAYS FINANCIAL CONSULTING    LLC
ARCS BANKRUPTCY                         CHICAGO IL 60630-2589                    SUITE 555
1800 CENTURY BLVD NE SUITE 9100                                                  2964 PEACHTREE ROAD NW
ATLANTA GA 30345-3202                                                            ATLANTA GA 30305-4909




HAYS FINANCIAL CONSULTING    LLC        DEETRIC M HICKS                          (P)INTERNAL REVENUE SERVICE
2964 PEACHTREE ROAD NW                  JOHNSON FREEDMAN LLC                     CENTRALIZED INSOLVENCY OPERATIONS
SUITE 555                               1587 NORTHEAST EXPRESSWAY                PO BOX 7346
ATLANTA GA 30305-4909                   ATLANTA GA 30329-2401                    PHILADELPHIA PA 19101-7346
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1587 NE EXPRESSWAY                                                               CO BEDELIA C HARGROVE ESQ
ATLANTA GA 30329-2401                                                            1401 PEACHTREE STREET
                                                                                 SUITE 500
                                                                                 ATLANTA GA 30309-3041




JENNIFER N MELTON                        KEENAN WILKINS                          KAREN A MAXCY
CO ERIC L REGISTER ESQ                   ART 278                                 MCCALLA RAYMER LLC
REGISTER LETT LLP                        550 6TH ST                              1587 NORTHEAST EXPRESSWAY
1741 COMMERCE DRIVE                      OAKLAND CA 94607-3946                   ATLANTA GA 30329-2401
ATLANTA GA 30318-3107




NATIONAL COMMERCE BROKERS    INC         MARTIN P OCHS                           OFFICE OF THE UNITED STATES TRUSTEE
75 SECOND AVE                            OFFICE OF THE U S TRUSTEE               362 RICHARD RUSSELL BUILDING
SUITE 3115                               362 RICHARD RUSSELL FEDERAL BLDG        75 TED TURNER DRIVE SW
NEEDHAM MA 02494-2820                    75 TED TURNER DRIVE SW                  ATLANTA GA 30303-3315
                                         ATLANTA GA 30303-3330




REMAX GREATER ATLANTA THE LATHAM GROUP   RONNIE JACKSON JR                       RONNIE JACKSON JR
DON LATHAM LONNIE LATHAM                 CO DONELL HOLIDAY CRED ATTORNEY         CO DONELL HOLIDAY ESQ
BUILDING 1300                            PO BOX 4596                             142 MITCHELL STREET
5591 CHAMBLEE-DUNWOODY ROAD              ATLANTA GA 30302-4596                   SUITE 108
ATLANTA GA 30338-4176                                                            ATLANTA GA 30303-3428




RONNIE JACKSON JR                        SANTANDER CONSUMER USA                  SANTANDER CONSUMER USA INC
CO DONNELL HOLIDAY ESQ                   PO BOX 560284                           AS SERVICER FOR CITI
225 PEACHTREE STREET SUITE 1430          DALLAS TX 75356-0284                    PO BOX 961245
PO BOX 4596                                                                      FORT WORTH TX 76161-0244
ATLANTA GA 30302-4596



DEBTOR
TODD ANTHONY SHAW                        SHAWNA STATON                           WAYNE R TERRY
1010 FOREST OVERLOOK DRIVE               OFFICE OF THE UNITED STATES TRUSTEE     HEMAR ROUSSO HEALD LLP
ATLANTA GA 30331-8344                    362 RICHARD RUSSELL BUILDING            12TH FLOOR
                                         75 TED TURNER DRIVE SW                  15910 VENTURA BOULEVARD
                                         ATLANTA GA 30303-3315                   LOS ANGELES CA 91436-2829




TROJAN PROFESSIONAL SERVICE              UNITED STATES ATTORNEY                  UNITED STATES ATTORNEY GENERAL
P 0 BOX 1270                             NORTHERN DISTRICT OF GEORGIA            10TH AND CONSTITUTION AVE
LOS ANGELES CA 90078-1270                ROOM 600 RICHARD RUSSELL BLDG           WASHINGTON DC 20530-0001
                                         75 SPRING ST SW
                                         ATLANTA GA 30303-3318




VALLEY CONSTRUCTION SERVICE              VERIZON                                 KEENAN WILKINS
7025 N 58TH AVE                          BANKRUPTCY ADMINISTRATION               ART278
GLENDALE AZ 85301-2424                   P 0 BOX 3397                            5325 BRODER BLVD
                                         BLOOMINGTON IL 61702-3397               DUBLIN CA 94568-3309




EXCLUDE
(U)ZOMBA ENTERPRISES   INC               ZOMBA RECORDING LLC                     ZOMBA RECORDING LLC CO WILL TATE   ESQ
                                         550 MADISON AVENUE                      1600 ATLANTA FINANCIAL CENTER
                                         NEW YORK NY 10022-3211                  3343 PEACHTREE ROAD NE
                                                                                 ATLANTA GEORGIA 30326-1044
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Broadcast Music Inc. (BMI)
Royalty Payments to the Sheriff's Department of Los Angeles County
Ellerbee, Bobby vs. Shaw, Todd A, Court Case No. 6980243
Bankruptcy Petition Date: 1/26/2009

      Distribution
         Date          US Period       Amount
       03/20/09        3Q2008          $6,098.71
       06/19/09        4Q2008          $4,838.53
       09/21/09        1Q2009          $6,261.46
       01/19/10        2Q2009          $5,312.33
       03/29/10        3Q2009          $6,612.48
       06/28/10        4Q2009          $5,908.54
       09/27/10        1Q2010          $5,480.53
       01/14/11        2Q2010          $6,981.32
       03/25/11        3Q2010          $6,093.51
       06/24/11        4Q2010          $9,835.20
       09/23/11        1Q2011          $6,401.13
       01/13/12        2Q2011          $8,474.90
       03/23/12        3Q2011         $21,066.09
       06/22/12        4Q2011         $10,367.05
       09/21/12        1Q2012          $6,314.22
       01/11/23        2Q2012          $5,751.96
       03/22/13        3Q2012          $6,396.10
       06/21/13        4Q2012          $5,046.10
       09/20/13        1Q2013          $5,418.63
       01/17/14        2Q2013          $8,336.04
       03/21/14        3Q2013          $5,626.06
       06/20/14        4Q2013          $4,733.34
       09/19/14        1Q2014          $4,892.92
       01/16/15        2Q2014          $7,286.26
       03/20/15        3Q2014          $6,605.14
       06/19/15        4Q2014          $5,375.40
       09/18/15        1Q2015          $6,125.95
       01/15/16        2Q2015          $8,070.74
       03/18/16        3Q2015          $7,434.04
       06/17/16        4Q2015         $10,099.02
       09/16/16        1Q2016         $10,941.45
       01/13/17        2Q2016         $15,877.28
       03/17/17        3Q2016         $59,749.58
       06/16/17        4Q2016         $39,691.65
       09/15/17        1Q2017         $20,124.15
       01/12/18        2Q2017         $22,268.69
       03/16/18        3Q2017         $58,841.64
       06/15/18        4Q2017         $63,959.80
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Broadcast Music Inc. (BMI)
Royalty Payments to the Sheriff's Department of Los Angeles County
Ellerbee, Bobby vs. Shaw, Todd A, Court Case No. 6980243
Bankruptcy Petition Date: 1/26/2009

      Distribution
         Date          US Period       Amount
       09/14/18        1Q2018         $26,903.12
       01/18/19        2Q2018         $23,228.47
       03/22/19        3Q2018         $24,534.37
       06/21/19        4Q2018         $24,852.06
       09/20/19        1Q2019         $23,781.12
       01/17/20        2Q2019         $26,118.52
       03/20/20        3Q2019         $24,752.96
       06/11/20        4Q2019         $18,775.53

                                     $697,644.09
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Todd Anthony Shaw
Case # 09-61855-BEM
Post Petition receipts of bankruptcy property by Todd Shaw

                                                                                      Estimated
    Paying Party                  Check Dates                  Check Totals       Bankruptcy Property
Broadcast Music Inc.    September 2020 to March 2021              $129,755.71             $97,015.90     (1)
SoundExchange           March 09 thru March 2011                   $26,682.41             $20,193.33     (2)
SoundExchange           Nov 2012 Thru Feb 2021                    $697,673.62            $528,001.55
                                                                  $854,111.74            $645,210.78

(1) Splitting between pre-petition (bankruptcy property) and post petition royalties would require a
manual review of three monthly statements that contain between 142 and 149 pages of details.
Royalties from pre-petition works are estimated at 74.77% of the total check amount, which is the rate
of pre-petition to total royalties paid by SoundExchange during the same period.

(2) Trustee does not have data to determine which royalties related to pre-petition (bankruptcy
property) and post petition works for the period March 2009 through March 2011. Bankruptcy
property is estimated at 75.7% of the check total, which is rate for the November 2012 though
February 2021 period for payments by SoundExchange. This amount is likely low.



Exhibit A - Check summary for Broadcast Music Inc. checks payable to Todd Shaw.
Exhibit B - Summary analysis of SoundExchange payments.
Exhibit C - Check summaries for SoundExchange payments to Todd Shaw.
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                              Exhibit A
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                              Exhibit B
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Payee Name: TODD ANTHONY SHAW Payee ID:      2093
Payee SXID: SX1019YX8D
Payment History:
                                                     Date                Post Petition    Royalies on Pre-                                 Mailing Address1 Per SX   Mailing Address2 Per
 Type Cycle Number         Date     Net Amount      Voided    Cashed Payments Received Petition Works    Payee Per SX Statement               Royalty Statement      SX Royalty Statement
CHECK REG 155557         03/15/09     $1,407.97              Yes            $1,407.97            TBD Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 162419         06/29/09         $551.92 Yes        N/A                                         Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 169141         09/08/09     $1,870.50              Yes              $1,870.50             TBD Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 177280         11/12/09     $2,518.11              Yes              $2,518.11             TBD Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 186459         12/09/09     $1,759.94              Yes              $1,759.94             TBD Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 198166         03/29/10     $2,805.89 Yes          N/A                                         Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 206706         06/22/10     $4,286.14              Yes              $4,286.14             TBD Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 216947         09/20/10     $4,004.29              Yes              $4,004.29             TBD Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 231550         12/15/10     $6,127.88              Yes              $6,127.88             TBD Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 245328         03/18/11     $4,707.58              Yes              $4,707.58             TBD Payment statemet not provided by
                                                                                                         SoundExchange
CHECK REG 370159         11/21/12    $63,750.94              N/A             $63,750.94       $56,132.31 Todd Anthony Shaw                8730 Sunset Blvd, Ste 470, Los Angeles, CA 90069

CHECK REG 399520         03/14/13    $10,787.75              N/A             $10,787.75       $10,305.26 Todd Anthony Shaw                8730 Sunset Blvd, Ste 470, Los Angeles, CA 90069

CHECK REG 429108         06/05/13    $13,134.98              N/A             $13,134.98       $11,423.50 Todd Anthony Shaw                8730 Sunset Blvd, Ste 470, Los Angeles, CA 90069

CHECK REG 455353         09/06/13    $14,285.12              N/A             $14,285.12       $12,871.34 Tood Anthony Shaw DBA           150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
                                                                                                         Overtyme LLC c/o Davis Shapiro,
CHECK REG 482897         11/23/13    $18,564.08              N/A             $18,564.08       $17,319.35 Tood Anthony Shaw DBA           150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
                                                                                                         Overtyme LLC c/o Davis Shapiro,
CHECK REG 528941         03/06/14    $14,283.69              N/A             $14,283.69       $13,078.18 Tood Anthony Shaw c/o Davis     150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
                                                                                                         Shapiro, et al.
CHECK REG 561566         06/03/14    $17,872.83              N/A             $17,872.83       $14,312.39 Tood Anthony Shaw c/o Davis     150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
                                                                                                         Shapiro, et al.
CHECK REG 604345         09/10/14    $36,330.33              N/A             $36,330.33       $24,228.95 Tood Anthony Shaw c/o Davis     150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
                                                                                                         Shapiro, et al.
CHECK REG 643364         12/03/14    $26,994.10              N/A             $26,994.10       $15,174.94 Tood Anthony Shaw c/o Davis     150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
                                                                                                         Shapiro, et al.
CHECK REG 684587         03/02/15    $24,291.97              N/A             $24,291.97       $16,557.71 Tood Anthony Shaw c/o Davis     150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
                                                                                                         Shapiro, et al.
ACH    REG 697875        05/05/15    $14,189.53              Yes             $14,189.53        $9,451.68 Todd Anthony Shaw               150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
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Payee Name: TODD ANTHONY SHAW Payee ID:     2093
Payee SXID: SX1019YX8D
Payment History:
                                                    Date                Post Petition    Royalies on Pre-                           Mailing Address1 Per SX Mailing Address2 Per
 Type   Cycle Number        Date     Net Amount    Voided    Cashed Payments Received Petition Works      Payee Per SX Statement       Royalty Statement       SX Royalty Statement
ACH     REG 100071185     06/08/15     $7,574.51            Yes            $7,574.51        $5,190.45 Todd Anthony Shaw            150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100077975     07/10/15     $7,328.91            Yes              $7,328.91         $5,049.39 Todd Anthony Shaw         150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100082072     08/10/15     $6,752.89            Yes              $6,752.89         $4,669.94 Todd Anthony Shaw         150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100114086     09/11/15     $7,025.26            Yes              $7,025.26         $5,061.74 Todd Anthony Shaw         150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100121933     10/09/15     $6,958.00            Yes              $6,958.00         $4,844.04 Todd Anthony Shaw         150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100128649     11/06/15     $7,245.58            Yes              $7,245.58         $5,288.37 Todd Anthony Shaw         150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100151590     12/03/15     $9,736.37            Yes              $9,736.37         $7,757.96 Todd Anthony Shaw         150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100158540     01/05/16     $6,168.53            Yes              $6,168.53         $4,544.09 Todd Anthony Shaw         150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100161876     02/19/16     $6,571.37            Yes              $6,571.37        $4,633.65 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100171701     03/15/16     $6,197.11            Yes              $6,197.11        $4,504.35 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100192710     04/14/16     $6,736.84            Yes              $6,736.84        $4,981.22 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100198710     05/19/16     $6,781.31            Yes              $6,781.31        $5,007.12 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100238850     06/22/16     $9,019.14            Yes              $9,019.14        $6,292.50 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100259816     07/22/16     $7,757.02            Yes              $7,757.02        $5,673.70 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100263320     08/18/16     $7,534.05            Yes              $7,534.05        $5,623.05 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100280606     09/17/16     $6,990.24            Yes              $6,990.24        $5,282.35 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100308430     10/20/16     $7,285.00            Yes              $7,285.00        $5,612.32 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100317660     11/15/16     $6,990.88            Yes              $6,990.88        $5,433.03 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100349305     12/09/16     $5,912.31            Yes              $5,912.31        $5,025.77 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100358391     01/18/17     $6,133.99            Yes              $6,133.99        $4,489.27 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100364711     02/16/17     $6,124.65            Yes              $6,124.65        $4,248.89 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
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Payee Name: TODD ANTHONY SHAW Payee ID:     2093
Payee SXID: SX1019YX8D
Payment History:
                                                    Date                Post Petition    Royalies on Pre-                           Mailing Address1 Per SX Mailing Address2 Per
 Type   Cycle Number        Date     Net Amount    Voided    Cashed Payments Received Petition Works      Payee Per SX Statement       Royalty Statement       SX Royalty Statement
ACH     REG 100388008     03/16/17     $6,014.94            Yes            $6,014.94        $4,112.94 Todd Anthony Shaw            150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100402676     04/13/17     $6,136.33            Yes              $6,136.33        $4,256.64 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100406007     05/18/17     $5,905.42            Yes              $5,905.42        $4,601.58 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100416841     06/15/17     $6,346.03            Yes              $6,346.03        $4,850.81 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100443109     07/20/17     $5,905.98            Yes              $5,905.98        $4,616.23 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100446647     08/17/17     $5,723.86            Yes              $5,723.86        $4,372.18 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100453356     09/19/17     $5,564.37            Yes              $5,564.37        $4,335.27 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100486130     10/19/17     $5,752.02            Yes              $5,752.02        $4,584.90 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100497479     11/14/17     $5,681.98            Yes              $5,681.98        $4,514.80 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100497963     12/14/17     $5,967.86            Yes              $5,967.86        $4,754.99 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100524277     01/18/18     $5,160.89            Yes              $5,160.89        $4,062.87 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100528764     02/15/18     $5,163.03            Yes              $5,163.03        $4,067.52 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100541260     03/15/18     $5,411.10            Yes              $5,411.10        $4,455.20 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100575239     04/19/18     $6,148.90            Yes              $6,148.90        $5,145.77 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100582795     05/17/18    $12,411.53            Yes             $12,411.53        $4,661.70 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100599241     06/14/18     $8,607.78            Yes              $8,607.78        $4,833.12 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100614887     07/19/18     $5,929.46            Yes              $5,929.46        $4,548.05 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100621894     08/16/18     $5,887.17            Yes              $5,887.17        $4,807.52 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100652238     09/13/18     $5,448.48            Yes              $5,448.48        $4,334.56 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100668450     10/18/18     $5,078.32            Yes              $5,078.32        $4,039.64 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100673010     11/13/18    $12,662.25            Yes             $12,662.25       $10,439.98 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212
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Payee Name: TODD ANTHONY SHAW Payee ID:     2093
Payee SXID: SX1019YX8D
Payment History:
                                                    Date                Post Petition    Royalies on Pre-                           Mailing Address1 Per SX Mailing Address2 Per
 Type   Cycle Number        Date     Net Amount    Voided    Cashed Payments Received Petition Works      Payee Per SX Statement       Royalty Statement       SX Royalty Statement
ACH     REG 100692904     12/07/18     $5,729.08            Yes            $5,729.08        $3,479.81 Todd Anthony Shaw            150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100715644     01/17/19     $5,799.93            Yes              $5,799.93        $4,752.62 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100726575     02/14/19     $4,777.27            Yes              $4,777.27        $3,305.73 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100753054     03/14/19     $6,057.69            Yes              $6,057.69        $4,432.03 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100769318     04/18/19     $4,543.22            Yes              $4,543.22        $3,470.51 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100777412     05/16/19     $4,558.74            Yes              $4,558.74        $3,236.79 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100797278     06/13/19     $5,265.13            Yes              $5,265.13        $4,237.71 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100814331     07/18/19     $5,421.62            Yes              $5,421.62        $4,067.02 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100817875     08/15/19     $7,081.22            Yes              $7,081.22        $5,534.13 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100827886     09/20/19     $4,704.44            Yes              $4,704.44        $3,592.88 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100872391     10/17/19     $4,867.86            Yes              $4,867.86        $3,943.05 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100880897     11/14/19     $5,642.82            Yes              $5,642.82        $3,974.28 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100906468     12/12/19     $4,722.90            Yes              $4,722.90        $3,839.70 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100921830     01/16/20     $5,600.03            Yes              $5,600.03        $5,024.04 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100930122     02/13/20     $5,291.64            Yes              $5,291.64        $4,015.75 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100955529     03/19/20     $5,784.29            Yes              $5,784.29        $4,377.70 Todd Anthony Shaw          150 S Rodeo Drive, Ste 200 Beverly Hills, CA 90212

ACH     REG 100969225     04/16/20     $7,729.92            Yes              $7,729.92        $4,776.16 Todd Anthony Shaw          1802 Grand Avenue          Nashville, TN 37212

ACH     REG 100980646     05/14/20     $5,443.94            Yes              $5,443.94        $4,316.62 Todd Anthony Shaw          1802 Grand Avenue          Nashville, TN 37212

ACH     REG 100999802     06/18/20     $7,388.29            Yes              $7,388.29        $4,844.54 Todd Anthony Shaw          1802 Grand Avenue          Nashville, TN 37212

ACH     REG 101026184     07/16/20     $4,926.35            Yes              $4,926.35        $3,836.78 Todd Anthony Shaw          1802 Grand Avenue          Nashville, TN 37212

ACH     REG 101042146     08/13/20     $6,465.54            Yes              $6,465.54        $5,329.99 Todd Anthony Shaw          1802 Grand Avenue          Nashville, TN 37212
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Payee Name: TODD ANTHONY SHAW Payee ID:          2093
Payee SXID: SX1019YX8D
Payment History:
                                                         Date                Post Petition    Royalies on Pre-                           Mailing Address1 Per SX Mailing Address2 Per
 Type   Cycle Number             Date     Net Amount    Voided    Cashed Payments Received Petition Works      Payee Per SX Statement       Royalty Statement     SX Royalty Statement
ACH     REG 101079203          09/17/20     $5,417.37            Yes            $5,417.37        $4,478.84 Todd Anthony Shaw            1802 Grand Avenue        Nashville, TN 37212

ACH      REG 101087361         10/15/20     $5,772.68            Yes              $5,772.68        $4,857.74 Todd Anthony Shaw          1802 Grand Avenue        Nashville, TN 37212

ACH      REG 101095747         11/18/20     $8,395.32            Yes              $8,395.32        $6,763.22 Todd Anthony Shaw          1802 Grand Avenue        Nashville, TN 37212

ACH      REG 101122117         12/16/20     $5,529.92            Yes              $5,529.92        $4,438.32 Todd Anthony Shaw          1802 Grand Avenue        Nashville, TN 37212

ACH      REG 101136500         01/21/21     $9,908.90            Yes              $9,908.90        $4,885.77 Todd Anthony Shaw          1802 Grand Avenue        Nashville, TN 37212

ACH      REG 101147121         02/18/21     $4,630.53            Yes              $4,630.53        $3,724.75 Todd Anthony Shaw          1802 Grand Avenue        Nashville, TN 37212

ACH      REG 101165451         03/18/21     $5,361.53            No                                              Todd Anthony Shaw      1802 Grand Avenue        Nashville, TN 37212

ACH      REG 101202542         04/15/21     $7,242.45            No                                              Todd Anthony Shaw      1802 Grand Avenue        Nashville, TN 37212

ACH      REG 101204217         05/13/21     $4,618.81            No                                              Todd Anthony Shaw      1802 Grand Avenue        Nashville, TN 37212




                                                                                $724,356.03      $528,001.56

Date of Bankruptcy Petion = 1/26/2009
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Michael Bargar

From:                              Bargar, Michael J. <michael.bargar@agg.com>
Sent:                              Tuesday, September 22, 2020 5:20 PM
To:                                Na'il Benjamin; Gaelen Whittemore
Subject:                           RE: Todd Shaw PKA Too $hort


Dear Mr. Benjamin:

         The case number for Mr. Shaw’s bankruptcy case is 09-61855-BEM, which remains pending in the United States
Bankruptcy Court, Northern District of Georgia, Atlanta Division. I recall that I explained the status of the case to a Josh
Binder earlier this year. I am happy to answer any questions that you might have. Feel free to call me at the direct line
in my below signature block.

        So that I can understand exactly who I will be speaking with, who exactly is the “we” that Mr. Wittemore
references in his below email?

           Thank you,

           Mike

 Michael J. Bargar
 Partner

 Arnall Golden Gregory LLP
 171 17th Street NW, Suite 2100
 Atlanta, GA 30363
 p: 404.873.7030 f: 404.873.7031
 michael.bargar@agg.com | bio | linkedin | vcard | website



From: Na'il Benjamin <NBenjamin@benjaminlawgroup.com>
Sent: Tuesday, September 22, 2020 5:09 PM
To: Gaelen Whittemore <gaelen.whittemore@gmail.com>; Bargar, Michael J. <michael.bargar@agg.com>
Subject: RE: Todd Shaw PKA Too $hort

Thanks, Gaelen. I appreciate it.


Best regards,

Na’il Benjamin, Esq.
Managing Partner
Benjamin Law Group, P.C.
1290 B Street, Suite 314
Hayward, CA 94541
(510) 897-9966
Hayward | San Francisco | Los Angeles
www.BenjaminLawGroup.com

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From: Gaelen Whittemore <gaelen.whittemore@gmail.com>
Sent: Tuesday, September 22, 2020 1:47 PM
To: Bargar, Michael J. <michael.bargar@agg.com>
Cc: Na'il Benjamin <NBenjamin@benjaminlawgroup.com>
Subject: Re: Todd Shaw PKA Too $hort

Michael, copied here is Na’il Benjamin, an attorney we are retaining to assist in bringing clarity to the status of
Mr. Shaw’s BK case. Can you provide the case #?

Thank you.

Sent from my iPhone


       On Apr 17, 2020, at 11:32 AM, Bargar, Michael J. <michael.bargar@agg.com> wrote:


       Yes, that works. Thank you for the flexibility.

       Kind regards,

       Mike

        Michael J. Bargar
        Partner

        Arnall Golden Gregory LLP
        171 17th Street NW, Suite 2100
        Atlanta, GA 30363
        p: 404.873.7030 f: 404.873.7031
        michael.bargar@agg.com | bio | linkedin | vcard | website



       From: Sabrina Lam <slam@rmbllp.com>
       Sent: Friday, April 17, 2020 2:23 PM
       To: Bargar, Michael J. <michael.bargar@agg.com>
       Cc: Gaelen Whittemore <gaelen.whittemore@gmail.com>
       Subject: RE: Todd Shaw PKA Too $hort

       Hi Michael,

       No problem, might Monday at 12pm PST work for you?

       Kind Regards,
       Sabrina

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 Sabrina G Lam
 Assistant to Joshua P. Binder
 ROTHENBERG, MOHR & BINDER, LLP
 E: slam@rmbllp.com

 9595 Wilshire Blvd., Suite 201, Beverly Hills, CA 90212

 Direct: (310) 774-0599|Main: 310 721 6065



 From: Bargar, Michael J. <michael.bargar@agg.com>
 Sent: Friday, April 17, 2020 11:21 AM
 To: Sabrina Lam <slam@rmbllp.com>
 Cc: Gaelen Whittemore <gaelen.whittemore@gmail.com>
 Subject: RE: Todd Shaw PKA Too $hort

 Dear Ms. Lam:

         I have had a bit of an emergency come up and need to reschedule my call with Mr. Binder. Can
 we do the call at 10:00 a.m. (PT) on Monday?

           Thanks,

           Mike

  Michael J. Bargar
  Partner

  Arnall Golden Gregory LLP
  171 17th Street NW, Suite 2100
  Atlanta, GA 30363
  p: 404.873.7030 f: 404.873.7031
  michael.bargar@agg.com | bio | linkedin | vcard | website



 From: Sabrina Lam <slam@rmbllp.com>
 Sent: Wednesday, April 15, 2020 8:39 PM
 To: Bargar, Michael J. <michael.bargar@agg.com>
 Cc: Gaelen Whittemore <gaelen.whittemore@gmail.com>
 Subject: RE: Todd Shaw PKA Too $hort

 Hi Michael,

 Yes, that works for Josh. Thank you!

 Kind Regards,
 Sabrina


 Sabrina G Lam
 Assistant to Joshua P. Binder

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                                    Document    Page 222 of 243
 ROTHENBERG, MOHR & BINDER, LLP
 E: slam@rmbllp.com

 9595 Wilshire Blvd., Suite 201, Beverly Hills, CA 90212

 Direct: (310) 774-0599|Main: 310 721 6065



 From: Bargar, Michael J. <michael.bargar@agg.com>
 Sent: Wednesday, April 15, 2020 5:33 PM
 To: Sabrina Lam <slam@rmbllp.com>
 Cc: Gaelen Whittemore <gaelen.whittemore@gmail.com>
 Subject: Re: Todd Shaw PKA Too $hort

 Hi Sabrina,

 I have a telephone call at 2:00. To be safe, how does 4:00 ET work?

 Kind regards,

 Mike


 Sent from my IPhone (Please excuse typos)

 Michael J. Bargar
 Attorney at Law
 Arnall Golden Gregory LLP
 171 17th Street, NW, Suite 2100
 Atlanta, GA 30363
 michael.bargar@agg.com
 404-873-7030 (phone)
 404-873-7031 (fax)



          On Apr 15, 2020, at 8:29 PM, Sabrina Lam <slam@rmbllp.com> wrote:


          Moving Josh to BCC for a soft removal.

          Good Afternoon Michael,

          Are you available to speak with Josh on Friday at 12pm PST/3pm EST?

          Kind Regards,
          Sabrina


          Sabrina G Lam
          Assistant to Joshua P. Binder
          ROTHENBERG, MOHR & BINDER, LLP
          E: slam@rmbllp.com

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      9595 Wilshire Blvd., Suite 201, Beverly Hills, CA 90212

      Direct: (310) 774-0599|Main: 310 721 6065




      From: Joshua Binder <jbinder@rmbllp.com>
      Sent: Wednesday, April 15, 2020 5:25 PM
      To: Bargar, Michael J. <michael.bargar@agg.com>
      Cc: Gaelen Whittemore <gaelen.whittemore@gmail.com>; Sabrina Lam
      <slam@rmbllp.com>
      Subject: RE: Todd Shaw PKA Too $hort

      + Sabrina.

      From: Bargar, Michael J. <michael.bargar@agg.com>
      Sent: Wednesday, April 15, 2020 5:16 PM
      To: Joshua Binder <jbinder@rmbllp.com>
      Cc: Gaelen Whittemore <gaelen.whittemore@gmail.com>
      Subject: Re: Todd Shaw PKA Too $hort

      Hi Joshua,

      I am in Court all day tomorrow and unavailable. What does your schedule look
      like on Friday or Monday?

      Kind regards,

      Mike


      Sent from my IPhone (Please excuse typos)

      Michael J. Bargar
      Attorney at Law
      Arnall Golden Gregory LLP
      171 17th Street, NW, Suite 2100
      Atlanta, GA 30363
      michael.bargar@agg.com
      404-873-7030 (phone)
      404-873-7031 (fax)



               On Apr 15, 2020, at 7:20 PM, Joshua Binder
               <jbinder@rmbllp.com> wrote:


               Michael,

               Please give me a call tomorrow.
                                                        5
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            Best,
            Josh

            Joshua P. Binder
            Rothenberg Mohr & Binder, LLP
            9595 Wilshire Boulevard, Suite 201
            Beverly Hills, CA 90212
            Phone: (310) 430-7312
            Email: jbinder@rmbllp.com




            From: Gaelen Whittemore <gaelen.whittemore@gmail.com>
            Sent: Wednesday, April 15, 2020 3:58 PM
            To: Joshua Binder <jbinder@rmbllp.com>
            Subject: Fwd: Todd Shaw PKA Too $hort


            Begin forwarded message:

                    From: "Bargar, Michael J."
                    <michael.bargar@agg.com>
                    Date: March 30, 2020 at 12:25:33 PM PDT
                    To: Gaelen Whittemore
                    <gaelen.whittemore@gmail.com>
                    Cc: Greg Hays <ghays@haysconsulting.net>,
                    Joshua Binder <jbinder@rmbllp.com>
                    Subject: RE: Todd Shaw PKA Too $hort


                    I have not received a telephone call from Mr.
                    Binder. Please have him call my direct line (404-873-
                    7030).

                    Kind regards,

                    Mike

                     Michael J. Bargar
                     Partner

                     Arnall Golden Gregory LLP
                     171 17th Street NW, Suite 2100
                     Atlanta, GA 30363
                     p: 404.873.7030 f: 404.873.7031
                     michael.bargar@agg.com | bio | linkedin | vcard | website


                    From: Gaelen Whittemore
                    <gaelen.whittemore@gmail.com>
                                                 6
Case 09-61855-bem    Doc 313 Filed 07/24/23 Entered 07/24/23 19:30:11             Desc Main
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                    Sent: Monday, March 30, 2020 3:21 PM
                    To: Bargar, Michael J. <michael.bargar@agg.com>
                    Cc: Greg Hays <ghays@haysconsulting.net>; Joshua
                    Binder <jbinder@rmbllp.com>
                    Subject: Re: Todd Shaw PKA Too $hort

                    Hey Michael, wanted to follow up here. Josh has
                    called your office but I don't think he's heard back
                    yet.

                    Thx

                    On Wed, Dec 11, 2019 at 2:43 PM Bargar, Michael
                    J. <michael.bargar@agg.com> wrote:

                     Hi Gaelen,



                               My firm represents Trustee in Mr. Shaw’s
                     bankruptcy case. Mr. Shaw is represented by counsel
                     in this matter. It looks like Joshua Binder may
                     represent him, too. Please have Mr. Binder give me a
                     call. In the meantime, it is important to note that Mr.
                     Shaw’s bankruptcy case remains pending, and the
                     accounts receivable remain property of his bankruptcy
                     estate.



                             Kind regards,



                             Mike




                      Michael J. Bargar

                      Attorney at Law


                      Arnall Golden Gregory LLP
                      171 17th Street NW, Suite 2100

                      Atlanta, GA 30363

                      p: 404.873.7030 f: 404.873.7031

                      michael.bargar@agg.com | bio | linkedin | vcard | website


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                    From: Gaelen Whittemore
                    [mailto:gaelen.whittemore@gmail.com]
                    Sent: Wednesday, December 11, 2019 5:13 PM
                    To: Greg Hays <ghays@haysconsulting.net>
                    Cc: Joshua Binder <jbinder@rmbllp.com>; Bargar,
                    Michael J. <michael.bargar@agg.com>
                    Subject: Re: Todd Shaw PKA Too $hort




                    Thank you. Our attorney Joshua is copied as well.
                    Pls advise what we need to provide.

                    Sent from my iPhone



                           On Dec 11, 2019, at 2:09 PM, Greg
                           Hays <ghays@haysconsulting.net>
                           wrote:



                           There is information on the docket and
                           happy to provide additional
                           information but you need to make the
                           request through his lawyer or provide
                           information or your representation of
                           the Debtor.



                           I copied Trustee’s counsel.




                           S. Gregory Hays, CTP, CIRA

                           Managing Principal

                           Hays Financial Consulting, LLC
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                         2964 Peachtree Road, Suite 555

                         Atlanta, GA 30305

                         Office (404) 926-0051

                         Mobile (404)218-1088

                         ghays@haysconsulting.net

                         www.haysconsulting.net




                         From: Gaelen Whittemore
                         [mailto:gaelen.whittemore@gmail.co
                         m]
                         Sent: Wednesday, December 11, 2019
                         5:00 PM
                         To: Greg Hays
                         <ghays@haysconsulting.net>
                         Cc: Joshua Binder
                         <jbinder@rmbllp.com>
                         Subject: Todd Shaw PKA Too $hort




                         Greg,



                         Hope all is well. I rep musician,
                         Too $hort. Your firm has been
                         collecting royalties stemming from
                         a past bankruptcy. Hoping you can
                         send us a copy of the settlement and
                         up to date accounting summary.
                         We're trying to clean up
                         accountancy across the board.




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                          Thank you for your attention to this
                          matter.




                               --



                               Gaelen Whittemore

                               (818) 402 - 9775

                     Note:
                     This message and any attachments from the law firm Arnall Golden
                     Gregory LLP may contain CONFIDENTIAL and legally protected
                     information. If you are not the addressee and an intended recipient,
                     please do not read, copy, use or disclose this communication to
                     others; also, please notify the sender by replying to this message, and
                     then delete it from your system. Thank you.




                    --


                    Gaelen Whittemore
                    (818) 402 - 9775




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                       TRUSTEE EXHIBIT “11” FOLLOWS
          Case
           Case09-61855-bem
                09-61855-bem Doc
                              Claim
                                  3133-1 Filed
                                            Filed
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B10 (Official Form 10) (12/08)
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UNITED STATES BANKRUPTCY COURT NORTHERN                                           DISTRICT OF GEORGIA                                              PROOF OF CLAIM

Name of Debtor:                                                                                                       Case Number:
                TODD ANTHONY SHAW                                                                                        09-61855-MGD
    NOTE: This form should not be used to make a claim for an administrative expense arising after the commencement of the case. A request of payment of an
                                                  administrative expense may be filed pursuant to 11 U.S.C. § 503.
Name of Creditor (The person or other entity to whom the debtor owes money or property):                                   Check this box to indicate that this
   Department of the Treasury - Internal Revenue Service                                                                   claim amends a previously filed
Name and address where notices should be sent:                                                                             claim.
 Internal Revenue Service                                                                                             Court Claim Number:
 P.O. Box 21126                                                                                                           (If known)
 Philadelphia, PA 19114

                                                                                                                                 Filed on:
Telephone number: 1-800-913-9358                   Creditor Number: 11191512
Name and address where payments should be sent (if different from above):                                                            Check this box if you are aware that
 Internal Revenue Service                                                                                                            anyone else has filed a proof of claim
 P.O. Box 21125                                                                                                                      relating to your claim. Attach copy of
 Philadelphia, PA 19114                                                                                                              statement giving particulars.

                                                                                                                                     Check this box if you are the debtor
Telephone Number: 1-800-913-9358                                                                                                     or trustee in this case.
1. Amount of Claim as of Date Case Filed:                $ 2,107,643.02                                                     5. Amount of Claim Entitled to
                                                                                                                               Priority under 11 U.S.C. §507(a). If
If all or part of your claim is secured, complete item 4 below; however, if all of your claim is unsecured, do not complete
                                                                                                                               any portion of your claim falls in
item 4.
                                                                                                                               one of the following categories,
                                                                                                                               check the box and state the
If all or part of your claim is entitled to priority, complete item 5.
                                                                                                                               amount.
   Check this box if claim includes interest or other charges in addition to the principal amount of claim. Attach               Specify the priority of the claim.
   itemized statement of interest or charges.
                                                                                                                                    Domestic support obligations under
2. Basis for Claim:                       Taxes                                                                                     11 U.S.C. §507(a)(1)(A) or (a)(1)(B).
    (See instruction #2 on reverse side.)
3. Last four digits of any number by which creditor identifies debtor:           See Attachment                                     Wages, salaries, or commissions (up
                                                                                                                                    to $10,950*) earned within 180 days
      3a. Debtor may have scheduled account as:                                                                                     before filing of the bankruptcy
             (See instruction #3a on reverse side.)                                                                                 petition or cessation of the debtor's
4. Secured Claim (See instruction #4 on reverse side.)                                                                              business, whichever is earlier - 11
                                                                                                                                    U.S.C. §507 (a)(4).
   Check the appropriate box if your claim is secured by a lien on property or a right of setoff and provide the
   requested information.                                                                                                           Contributions to an employee benefit
                                                                                                                                    plan -11 U.S.C. §507 (a)(5).
  Nature of property or right of setoff:                 Real Estate          Motor Vehicle          Other
  Describe:                                                                                                                         Up to $2,425* of deposits toward
                                                                                                                                    purchase, lease, or rental of property
  Value of Property:$________________ Annual Interest Rate                %                                                         or services for personal, family, or
                                                                                                                                    household use - 11 U.S.C. §507
  Amount of arrearage and other charges as of time case filed included in secured claim,                                            (a)(7).

  if any: $                                     Basis for perfection:                                                               Taxes or penalties owed to
                                                                                                                                    governmental units - 11 U.S.C. §507
  Amount of Secured Claim: $                                        Amount Unsecured: $                                             (a)(8).

6. Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim.               Other - Specify applicable paragraph
                                                                                                                                    of 11 U.S.C. §507 (a)(__).
7. Documents: Attach redacted copies of any documents that support the claim, such as promissory notes,
purchase orders, invoices, itemized statements or running accounts, contracts, judgments, mortgages, and security                     Amount entitled to priority:
agreements. You may also attach a summary. Attach redacted copies of documents providing evidence of
perfection of a security interest. You may also attach a summary. (See instruction 7 and definition of "redacted" on                     $ 34,604.28
reverse side.)
 DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER                                                       *Amounts are subject to adjustment on
 SCANNING.                                                                                                                       4/1/10 and every 3 years thereafter with
                                                                                                                                 respect to cases commenced on or after
 If the documents are not available, please explain:                                                                             the date of adjustment.
                           Signature: The person filing this claim must sign it. Sign and print name and title, if any, of the                   FOR COURT USE ONLY
Date:         01/04/2010   creditor or other person authorized to file this claim and state address and telephone number if
                           different from the notice address above. Attach copy of power of attorney, if any.

/s/ GLENDA COLLINS,                                          Internal Revenue Service
Bankruptcy Specialist                                        401 W PEACHTREE ST, NW
(404) 338-7577                                               M/S 334-D
                                                             ATLANTA, GA 30308-3539

                 Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C §§ 152 and 3571.
                Case
                 Case09-61855-bem
                      09-61855-bem Doc
                                    Claim
                                        3133-1 Filed
                                                  Filed
                                                      07/24/23
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Proof of Claim for                                                                                                                                              Form 10
                                                                                                                                                                Attachment
Internal Revenue Taxes
Department of the Treasury/Internal Revenue Service                                                                                               Case Number
                                                                                                                                                   09-61855-MGD
         In the Matter of: TODD ANTHONY SHAW
                           AKA TOO SHORT                                                                                                          Type of Bankruptcy Case
                           1010 FOREST OVERLOOK DRIVE                                                                                              CHAPTER 7A
                           ATLANTA, GA 36033
                                                                                                                                                  Date of Petition
                                                                                                                                                   01/26/2009


The United States has not identified a right of setoff or counterclaim. However, this determination is based on available data and is not
intended to waive any right to setoff against this claim debts owed to this debtor by this or any other federal agency. All rights of setoff
are preserved and will be asserted to the extent lawful.

Unsecured Priority Claims                   under section 507(a)(8) of the Bankruptcy Code
Taxpayer                                                                                                                                                                           Interest to
ID Number              Kind of Tax                        Tax Period                      Date Tax Assessed                                                    Tax Due             Petition Date

XXX-XX-4101            INCOME                             12/31/2005                 1    NOT FILED                                                          $1,000.00                     $0.00
XXX-XX-4101            INCOME                             12/31/2006                 2    Unassessed-No Return                                               $2,100.40                   $268.99
XXX-XX-4101            INCOME                             12/31/2007                 2    Unassessed-No Return                                               $4,782.14                   $213.46
XXX-XX-4101            INCOME                             12/31/2008                 2    Unassessed-No Return                                              $26,239.29                     $0.00

                                                                                                                                                            $34,121.83                   $482.45


                                                                     Total Amount of Unsecured Priority Claims:                                                           $34,604.28

Unsecured General Claims
Taxpayer                                                                                                                                                                           Interest to
ID Number              Kind of Tax                        Tax Period                      Date Tax Assessed                                                    Tax Due             Petition Date
XXX-XX-4101            INCOME                             12/31/1995                      07/30/1998                                                      $144,793.22               $768,960.77
XXX-XX-4101            INCOME                             12/31/1996                      07/30/1998                                                       $42,980.00                $54,613.49
XXX-XX-4101            INCOME                             12/31/1997                      11/23/1998                                                      $259,632.00                $12,360.28
XXX-XX-4101            INCOME                             12/31/1999                      09/24/2001                                                            $0.00                   $290.03
XXX-XX-4101            INCOME                             12/31/2003                 2    Unassessed-No Return                                                 $60.20                    $22.00
XXX-XX-4101            INCOME                             12/31/2004                 2    Unassessed-No Return                                                $397.60                   $120.03

                                                                                                                                                          $447,863.02               $836,366.60

    Penalty to date of petition on unsecured general claims (including interest thereon) . . . . . . $788,809.12


                                                                     Total Amount of Unsecured General Claims:                                                         $2,073,038.74




1 THE ABOVE LIABILITY HAS BEEN LISTED AS A POTENTIAL LIABILTITY FOR THE DEBTOR BECAUSE THE RETURN HAS NOT BEEN FILED. AS SOON AS THE DEBTOR FILES THE RETURN WITH THE IRS AS RE-
 QUIRED BY LAW THIS CLAIM WILL BE ADJUSTED TO REFLECT THE ASSESSED LIABILITY.

2 UNASSESSED TAX LIABILITY(IES) HAVE BEEN LISTED ON THIS CLAIM BECAUSE OUR RECORDS SHOW NO RETURN(S) FILED. WHEN THE DEBTOR(S) FILES THE RETURN OR PROVIDES OTHER INFORMATION
  AS REQUIRED BY LAW THE CLAIM WILL BE AMENDED




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Michael Bargar

From:                                         Gordon, Robert D. <RGordon@jenner.com>
Sent:                                         Wednesday, October 26, 2022 3:15 PM
To:                                           Michael Bargar
Subject:                                      Todd Shaw/ Sony Music


Hi, Mike. Hope all is well. I don’t know where the Trustee’s activities stand in terms of trying to sell the future stream of
royalties payable to the Debtor/Debtor’s estate from Sony Music, but I have been authorized by Sony to offer to buy out
its future royalty payment obligations via a lump-sum payment to the estate in the amount of $150,000. Please let us
know your thoughts, thanks.

Bob


Robert D. Gordon
Jenner & Block LLP
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Michael Bargar

From:                             Newmark, Linda <linda.newmark@umusic.com>
Sent:                             Wednesday, June 28, 2023 1:35 PM
To:                               Michael Bargar
Cc:                               Cho, JoAn; Kokakis, David; Hoffman, Ira; Elizabeth Miller; Doug Colton; Greg Beeckman
Subject:                          RE: Todd Anthony Shaw (Case No. 09-61855-BEM)
Attachments:                      280 - Sale Motion Hays Shaw.pdf


Hi Mike,

We continue to disagree with your interpretation of the contractual provisions setting forth the right of first
refusal/matching right of Universal Music – Z Tunes, LCC d/b/a Universal Music – Z Songs (as successor-in-interest to the
rights of Willesden Music, Inc. and Zomba Enterprises, Inc.) (“Company”) pursuant to Company’s February 2, 1988 and
April 1, 1994 co-publishing agreements relating to Todd Shaw p/k/a “Too Short”, as amended (individually and
collectively, the “Co-Publishing Agreements”).

Please be advised that Company is hereby electing not to match the proposed terms set forth in the proposed Asset
Purchase Agreement dated as of April 5, 2023 between S. Gregory Hays, as and only as Chapter 7 trustee of the
bankruptcy estate of Todd Anthony Shaw p/k/a “Too Short”, individually and sometimes d/b/a Srand Music (BMI), on
the one hand, and Reservoir Media Management, Inc., on the other hand, which proposed Asset Purchase Agreement is
included (starting at page 14) in the attached PDF that you submitted to Company on behalf of S. Gregory Hays in his
capacity as Chapter 7 trustee of the bankruptcy estate of Mr. Shaw (the “Proposed Asset Purchase Agreement”);
provided, however, that if the proposed sale to Reservoir Media Management, Inc. is not consummated within 120 days
from today, and/or if the proposed sale is to be on any terms and/or conditions that are different from those reflected
in the Proposed Asset Purchase Agreement in the attached PDF, then an offer to sell all of any part of the interests of
Todd Anthony Shaw p/k/a “Too Short”, individually and sometimes d/b/a Srand Music (BMI) (and/or all or any part of
the interests of Mr. Hays in his capacity as Chapter 7 trustee of the bankruptcy estate of Mr. Shaw) in the Compositions
must again be offered to Company in conformity with the Co-Publishing Agreements.

All of Company’s rights (including, without limitation, all of Company’s rights pursuant to the Co-Publishing Agreements)
are hereby expressly reserved, and nothing contained in or omitted from this email constitutes an approval by Company
of the Proposed Asset Purchase Agreement or any documents or terms contained therein.

Best regards,

Linda

Linda A. Newmark
Executive Vice President – Head of
Acquisitions and Strategic Projects
Universal Music Publishing Group
2105 Colorado Avenue
Santa Monica, CA 90404

Office: (310) 235-4709




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